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                     16
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                          ROVI GUIDES, INC.
                     18
                                               UNITED STATES DISTRICT COURT
                     19                       CENTRAL DISTRICT OF CALIFORNIA
                     20   ROVI GUIDES, INC.,                        )   Case No. 2:19-cv-0275-AG (FFMx)
                     21                                             )
                          Plaintiff,                                )
                     22   v.                                        )   Judge: Andrew J. Guilford
                          COMCAST CORPORATION; COMCAST              )
                     23                                             )
                          CABLE COMMUNICATIONS, LLC;                    AMENDED COMPLAINT FOR
                     24   COMCAST CABLE COMMUNICATIONS              )
                                                                    )   PATENT INFRINGEMENT
                          MANAGEMENT, LLC; COMCAST
                     25   BUSINESS COMMUNICATIONS, LLC;             )   DEMAND FOR JURY TRIAL
                     26   COMCAST HOLDINGS CORPORATION;             )
                          COMCAST SHARED SERVICES, LLC;             )
                     27   COMCAST OF SANTA MARIA, LLC; and          )
                          COMCAST OF LOMPOC, LLC,                   )
                     28                                             )
                          Defendants.                               )
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                      1            Plaintiff Rovi Guides, Inc. brings this Complaint for patent infringement
                      2   against Comcast Corporation; Comcast Cable Communications, LLC; Comcast Cable
                      3   Communications Management, LLC; Comcast Business Communications, LLC;
                      4   Comcast Holdings Corporation; Comcast Shared Services, LLC; Comcast of Santa
                      5   Maria, LLC; Comcast of Lompoc, LLC (all Comcast entities, collectively, Comcast
                      6   or Defendants) for infringement of U.S. Patent Nos. 9,055,319 (the ’319 Patent);
                      7   8,448,215 (the ’215 Patent); 8,973,069 (the ’069 Patent); 7,873,978 (the ’978 Patent);
                      8   9,232,254 (the ’254 Patent); 8,272,019 (the ’019 Patent); 7,735,107 (the ’107 Patent);
                      9   and 9,118,948 (the ʼ948 Patent) (collectively, Asserted Patents). Plaintiff, on personal
                     10   knowledge as to its own acts, and upon information and belief as to all others based
                     11   on investigation, alleges as follows:
                     12
                                                      SUMMARY OF THE ACTION
                     13
                                   1.   For over a decade, Comcast has built its interactive cable video business
              P.C.




                     14
MCKOOL SMITH, P C




                     15   on the back of Rovi’s patented technology. Like every other major US Pay-TV

                     16   provider in the United States, Comcast licensed Rovi’s patented technology for a

                     17   fixed term. But unlike every one of its Pay-TV competitors, Comcast refuses to

                     18   renew its patent license on acceptable terms. Although Comcast’s patent license

                     19   expired, it continues to make, use, sell, offer for sale, import, lease, offer to lease, and

                     20   distribute products that not only practice Rovi’s patented innovations, but also

                     21   compete with Rovi’s own products. This action seeks relief for some of Comcast’s

                     22   unauthorized, infringing, and competitive conduct.

                     23            2.   Fourteen years ago, when Rovi’s US patent portfolio was less than half

                     24   the size it is today, Comcast paid Rovi over $250 million for a fixed-term license to

                     25   Rovi’s patent portfolio (License). The License also included important, non-monetary

                     26   terms.

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                                                     COMPLAINT FOR PATENT INFRINGEMENT
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                      1           3.   Under the License, Comcast could use Rovi’s patents in connection with
                      2   Comcast’s and its affiliates’ Pay-TV systems. But the License expired on March 31,
                      3   2016, and since then, Comcast has not only failed to remove its infringing products
                      4   and services from the market, it continues to provide and actively promote those
                      5   infringing products and services to millions of its subscribers.
                      6           4.   As part of the parties’ negotiations to renew Comcast’s License, Rovi
                      7   provided Comcast notice of infringement of many of the Asserted Patents. Rovi also
                      8   explained that without renewing its License, Comcast would no longer have
                      9   permission to use Rovi’s patented innovations. Instead of taking a license, Comcast
                     10   decided to willfully infringe those Asserted Patents.
                     11           5.   After the License expired, Rovi brought suit against Comcast in district
                     12   court and in enforcement actions at the International Trade Commission (ITC) for
                     13   patent infringement, asserting a small number of patents in its portfolio not asserted
              P.C.




                     14   here.
MCKOOL SMITH, P C




                     15           6.   In November 2017, the ITC issued orders in the first ITC Investigation in
                     16   favor of Rovi barring Comcast from importing and distributing Comcast’s infringing
                     17   set-top boxes (STBs) in the United States. See generally In re Certain Digital Video
                     18   Receivers & Hardware & Software Components Thereof, Inv. No. 337-TA-1001,
                     19   Comm’n Op. (Dec. 6, 2017) (Final Public Version). And in response, Comcast
                     20   disabled valuable features that infringed the patents asserted in that ITC action,
                     21   drawing complaints from Comcast’s subscribers.
                     22           7.   And yet still, notwithstanding the ITC’s orders and pending litigation,
                     23   Comcast continues to refuse to renew its license to Rovi’s technology. Comcast’s
                     24   decision to continue to willfully infringe stands in stark contrast to its prior
                     25   recognition of the need for a license from Rovi.
                     26           8.   Indeed, Comcast is the lone holdout. Virtually the entire US Pay-TV
                     27   industry is licensed to Rovi’s portfolio of IPG patents. And in 2015 and 2016, every
                     28                                              2

                                                    COMPLAINT FOR PATENT INFRINGEMENT
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                      1   major Pay-TV provider in the United States–except Comcast–renewed its license on
                      2   economic terms that are generally consistent with those that Rovi has offered to
                      3   Comcast, including AT&T, Charter, DISH, and Verizon. This is a clear testament to
                      4   the value the industry places on Rovi’s patent portfolio. So, while every one of its
                      5   competitors pays a fair price for Rovi’s innovative technology, Comcast alone uses it
                      6   for free. Rovi is forced, then, to bring this additional infringement suit asserting
                      7   additional patents in order to enforce its patent rights.
                      8         9.    Rovi’s patent portfolio spans a broad range of interactive program guide
                      9   and related video technologies, and Rovi presented many aspects of its portfolio to
                     10   Comcast. During Rovi’s negotiations with Comcast about renewing Comcast’s
                     11   license, Rovi provided exemplary patents from a variety of areas of Rovi’s portfolio,
                     12   including Guidance, Search & Recommendations, local DVR (digital video recorder),
                     13   remote DVR, VOD (video-on-demand), Second Screen, and Interactive TV. In order
              P.C.




                     14   to streamline this action, the Asserted Patents in this Complaint relate to just one
MCKOOL SMITH, P C




                     15   portion of Rovi’s portfolio: advanced DVR functionalities such as cloud or network
                     16   recording and whole-home or multi-room DVR arrangements that were developed by
                     17   a Rovi company, United Video.
                     18         10. The Asserted Patents cover fundamental DVR technologies at the core of
                     19   the Comcast X1 system. Rovi’s patented technology is therefore immensely valuable
                     20   to Comcast and its customers. Nevertheless, Comcast has been using the technology
                     21   claimed in these patents without a license—for free—since April 2016. While some
                     22   of the Asserted Patents will expire before or shortly after trial, Rovi is nonetheless
                     23   entitled to recover the value that Comcast has refused to pay for the fundamental
                     24   DVR technologies covered by the Asserted Patents since Comcast’s license expired.
                     25   Rovi brings this action to seek its due compensation, and to deter Comcast’s
                     26   continued disregard for Rovi’s intellectual property.
                     27
                     28                                             3

                                                    COMPLAINT FOR PATENT INFRINGEMENT
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                      1                                     THE PARTIES
                      2   I.    ROVI: A PIONEER IN MEDIA TECHNOLOGY
                      3         11. Plaintiff Rovi Guides, Inc. is a Delaware corporation, with a principal
                      4   place of business at 2160 Gold Street, San Jose, California, 95002. Rovi Guides is a
                      5   wholly-owned subsidiary of Rovi Corporation and is the owner of the Asserted
                      6   Patents.
                      7         12. Rovi is a global leader in digital entertainment technology solutions.
                      8   Rovi’s market-leading digital entertainment solutions enable the proliferation of
                      9   access to media on electronic devices; these solutions include products and services
                     10   related to Interactive Program Guides (IPGs) and other content delivery solutions,
                     11   content discovery solutions, personalized search and recommendation, advertising
                     12   and programming promotion optimization, and other data and analytics solutions to
                     13   monetize interactions across multiple entertainment platforms. Rovi’s solutions are
              P.C.




                     14
                C




                          used by companies worldwide in applications such as cable, satellite, and internet
MCKOOL SMITH, P




                     15   protocol television (IPTV) receivers, including digital television set-top boxes (STBs)
                     16   and DVRs; PCs, mobile, and tablet devices; and other means by which consumers
                     17   connect to entertainment.
                     18         13. Rovi companies are and have been pioneers in media technology,
                     19   including the technology facilitating consumer access to and discovery of television
                     20   and other audiovisual media. Since introducing one of the first on-screen electronic
                     21   program guides in 1981, Rovi has continued to innovate, developing products,
                     22   services, and other solutions that connect consumers with their entertainment.
                     23         14. Thanks largely to those innovations, Rovi has a portfolio of over 1,200
                     24   issued U.S. patents, including the Asserted Patents, and over 500 pending U.S. patent
                     25   applications, more than 400 of which were filed after Comcast’s license expired.
                     26   Rovi’s patent portfolio has grown through strategic acquisitions of groundbreaking
                     27   companies, such as Veveo, and of patent portfolios from world-class innovators, such
                     28                                           4

                                                   COMPLAINT FOR PATENT INFRINGEMENT
                     Case 2:19-cv-00275-AG-FFM Document 56 Filed 03/07/19 Page 6 of 87 Page ID #:1547



                      1   as Microsoft. Rovi’s patented inventions are used daily by consumers of media
                      2   content, and are “must-haves” for television, other media service providers, and the
                      3   consumer electronics industry that supports them.
                      4         15. In recognition of the importance and value of Rovi’s patented
                      5   technologies and Rovi’s role as an innovator, every major U.S. Pay-TV provider,
                      6   including Comcast until its license agreement expired in 2016, has taken a license to
                      7   a portfolio of Rovi’s patents.
                      8         16. In further recognition of the importance of Rovi’s innovations, hundreds
                      9   of small to mid-size cable operators in the United States use Rovi’s i-Guide and
                     10   Passport IPG solutions today to provide television discovery and navigation features
                     11   to millions of their subscribers.
                     12         17. Today, Rovi engineers continue to innovate to bring Rovi to the forefront
                     13   of the next generation of IPG technology. In April 2018, Rovi released its Next-Gen
              P.C.




                     14   Platform, an IPG solution based on internet-protocol (IP) that allows operators and
MCKOOL SMITH, P C




                     15   consumers access to the most advanced television-viewing and navigation features.
                     16
                          II.   DEFENDANTS
                     17
                                18. Upon information and belief, Comcast Corporation is a Pennsylvania
                     18
                          corporation, with a principal place of business at One Comcast Center, 1701 John F.
                     19
                          Kennedy Blvd., Philadelphia, Pennsylvania, 19103. Through its wholly-owned
                     20
                          subsidiaries, Comcast Corporation provides “Comcast” branded services, including
                     21
                          Xfinity digital video, audio, and other content services to customers. Subscribers to
                     22
                          Comcast’s Xfinity television services receive a receiver, such as a set-top box. Upon
                     23
                          information and belief, Comcast Corporation develops the infringing Xfinity services
                     24
                          and equipment and provides the infringing receivers to customers.
                     25
                                19. Upon information and belief, Comcast Cable Communications, LLC is a
                     26
                          Delaware limited liability company, with a principal place of business at One
                     27
                     28                                            5

                                                    COMPLAINT FOR PATENT INFRINGEMENT
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                      1   Comcast Center, 1701 John F. Kennedy Blvd., Philadelphia, Pennsylvania, 19103.
                      2   Upon information and belief, Comcast Cable Communications, LLC is a subsidiary
                      3   of Comcast Corporation. Upon information and belief, Comcast Cable
                      4   Communications, LLC, jointly with the other Defendants, develops the infringing
                      5   Xfinity services and equipment and provides infringing receivers to customers.
                      6         20. Upon information and belief, Comcast Cable Communications
                      7   Management, LLC is a Delaware limited liability company, with a principal place of
                      8   business at One Comcast Center, 1701 John F. Kennedy Blvd., Philadelphia,
                      9   Pennsylvania, 19103. Upon information and belief, Comcast Cable Communications
                     10   Management, LLC is a subsidiary of Comcast Corporation. Upon information and
                     11   belief, Comcast Cable Communications Management, LLC, jointly with the other
                     12   Defendants, develops the infringing Xfinity services and equipment and provides
                     13   infringing receivers to customers.
              P.C.




                     14         21. Upon information and belief, Comcast Business Communications, LLC
MCKOOL SMITH, P C




                     15   is a Pennsylvania limited liability company, with a principal place of business at One
                     16   Comcast Center, 1701 John F. Kennedy Blvd., Philadelphia, Pennsylvania, 19103.
                     17   Upon information and belief, Comcast Business Communications, LLC is a
                     18   subsidiary of Comcast Corporation. Upon information and belief, Comcast Business
                     19   Communications, LLC, jointly with the other Defendants, develops the infringing
                     20   Xfinity services and equipment and provides infringing receivers to customers.
                     21         22. Upon information and belief, Comcast Holdings Corporation is a
                     22   Pennsylvania corporation, with a principal place of business at One Comcast Center,
                     23   1701 John F. Kennedy Blvd., Philadelphia, Pennsylvania, 19103. Upon information
                     24   and belief, Comcast Holdings Corporation is a subsidiary of Comcast Corporation.
                     25   Upon information and belief, Comcast Holdings Corporation, jointly with the other
                     26   Defendants, develops the infringing Xfinity services and equipment and provides
                     27   infringing receivers to customers.
                     28                                           6

                                                   COMPLAINT FOR PATENT INFRINGEMENT
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                      1         23. Upon information and belief, Comcast Shared Services, LLC is a
                      2   Delaware corporation, with a principal place of business at 330 N. Wabash Ave. 22,
                      3   Chicago, IL, 60611-3586. Upon information and belief, Comcast Shared Services,
                      4   LLC is a subsidiary of Comcast Corporation. Upon information and belief, Comcast
                      5   Shared Services, LLC, jointly with the other Defendants, develops the infringing
                      6   Xfinity services and equipment and provides infringing receivers to customers.
                      7         24. Upon information and belief, Comcast of Santa Maria, LLC is a
                      8   Delaware corporation, with a principal place of business at 685 East Betteravia Rd.,
                      9   Santa Maria, CA 93454. Upon information and belief, Comcast of Santa Maria, LLC
                     10   is a subsidiary of Comcast Corporation. Upon information and belief, Comcast of
                     11   Santa Maria, LLC, jointly with the other Defendants, develops the infringing Xfinity
                     12   services and equipment and provides infringing receivers to customers.
                     13         25. Upon information and belief, Comcast of Lompoc, LLC is a Delaware
              P.C.




                     14   corporation, with a principal place of business at 1145 North H Street, Suite B,
MCKOOL SMITH, P C




                     15   Lompoc, CA 93436. Upon information and belief, Comcast of Lompoc, LLC is a
                     16   subsidiary of Comcast Corporation. Upon information and belief, Comcast of
                     17   Lompoc, LLC, jointly with the other Defendants, develops the infringing Xfinity
                     18   services and equipment and provides infringing receivers to customers.
                     19
                                                     JURISDICTION AND VENUE
                     20
                     21         26. This is an action arising under the patent laws of the United States, 35

                     22   U.S.C. §§ 1, et seq. Accordingly, this Court has subject matter jurisdiction pursuant

                     23   to 28 U.S.C. §§ 1331 (federal question) and 1338(a) (action arising under an Act of

                     24   Congress relating to patents). Venue is proper in this judicial district under 28 U.S.C.

                     25   §§ 1391 and 1400(b).

                     26         27. More specifically, this action for patent infringement involves Comcast’s

                     27   manufacture, use, sale and/or lease, offer for sale and/or lease, and/or importation

                     28                                            7

                                                   COMPLAINT FOR PATENT INFRINGEMENT
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                      1       into the United States of its infringing IPG system, including STBs (and their
                      2       peripheral devices, such as remote control units), having hardware and software
                      3       components, including, in particular, IPG software, alone or in conjunction with
                      4       Comcast servers and/or mobile applications (the Accused Products) that are used in
                      5       and with Comcast’s Xfinity cable services.
                      6             28. The Accused Products include Comcast digital video receivers and
                      7       related hardware and software, including at least the associated IPG software. Such
                      8       Accused Products include X1 DVR and non-DVR set-top boxes,1 Xfinity Stream and
                      9       TV Remote mobile applications,2 the Xfinity Stream Portal, 3 and the servers that
                     10       operate in conjunction with the X1 receivers and Xfinity Stream App and Portal to
                     11       create the Comcast Xfinity X1 System.
                     12             29. Upon information and belief, Comcast operates at least two Xfinity stores
                     13       physically located in the Central District of California. Upon information and belief,
              P.C.




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                              Comcast conducts its regular, established business at these locations. These Xfinity
MCKOOL SMITH, P




                     15       stores provide infringing products to customers in this District. Comcast lists these
                     16       Xfinity stores on its website and identifies them as places where customers can obtain
                     17       infringing products.4 Upon information and belief, Comcast owns and/or leases the
                     18       premises where these Xfinity stores are located. Upon information and belief, these
                     19
                     20
                     21   1
                                  See X1 TV Box Comparison – DVR vs. Non-DVR, XFINITY,
                          https://www.xfinity.com/support/articles/x1-hub-vs-companion-box (last visited Oct. 31, 2018).
                     22   2
                                  See Set up the XFINITY TV Remote App, XFINITY, https://www.xfinity.com/support/xfinity-
                     23   apps/setting-up-the-cable-tv-app/ (last visited Oct. 31, 2018); Get Access to Xfinity Stream, XFINITY,
                          https://www.xfinity.com/get-stream (last visited Oct. 31, 2018).
                     24   3
                                  See     View      Programs      from     Your      Xfinity   Stream    Portal,      XFINITY,
                     25   https://www.xfinity.com/support/articles/xfinity-tv-website-on-screen-guide (last visited Oct. 31,
                          2018).
                     26   4
                                  See, e.g., 685 East Betteravia Rd, COMCAST, https://www.xfinity.com/local/ca/santa-
                          maria/685-east-betteravia-rd.html (last visited Dec. 17, 2018).
                     27
                     28                                                   8

                                                        COMPLAINT FOR PATENT INFRINGEMENT
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                       1   Xfinity stores are staffed by persons directly employed by Comcast, many of whom
                       2   live in this District.
                       3          30. This Court has general and/or specific personal jurisdiction over Comcast
                       4   Corporation, and venue is proper, in part because Comcast Corporation, directly
                       5   and/or in combination with its subsidiaries and/or through its agents, does continuous
                       6   and systematic business in this district, including by providing infringing products
                       7   and services to residents of the Central District of California, by providing infringing
                       8   products and services that it knew would be used within this district, and/or by
                       9   participating in the solicitation of business from residents of this district.
                      10          31. In addition, upon information and belief, Comcast Corporation, directly
                      11   or through its subsidiaries, places infringing products in the stream of commerce,
                      12   which is directed at this district, with the knowledge and/or understanding that such
                      13   products will be sold, leased, or otherwise provided to customers within this district.
              P.C.




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                C




                           In addition, upon information and belief, Comcast Corporation, directly or through its
MCKOOL SMITH, P




                      15   subsidiaries, employs individuals within the Central District of California, including
                      16   employees who provide infringing products and services to customers here, and
                      17   maintains offices and facilities here. Comcast Corporation, directly or through its
                      18   subsidiaries, operates highly commercial websites through which regular sales and/or
                      19   leases of products and/or sales of services are made to customers in this district,
                      20   including products and services that, upon information and belief, infringe the
                      21   Asserted Patents.
                      22          32. This Court has general and/or specific personal jurisdiction over Comcast
                      23   Cable Communications, LLC, and venue is proper, in part because Comcast Cable
                      24   Communications, LLC, directly and/or in combination with other Comcast entities
                      25   and/or through its agents, does continuous and systematic business in this district
                      26   including by providing infringing products and services to residents of the Central
                      27   District of California, by providing infringing products and services that it knew
                      28                                              9

                                                     COMPLAINT FOR PATENT INFRINGEMENT
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                       1   would be used within this district, and/or by participating in the solicitation of
                       2   business from residents of this district. In addition, upon information and belief,
                       3   Comcast Cable Communications, LLC, directly or through its subsidiaries, places
                       4   infringing products in the stream of commerce, which is directed at this district, with
                       5   the knowledge and/or understanding that such products will be sold, leased, or
                       6   otherwise provided to customers within this district. In addition, upon information
                       7   and belief, Comcast Cable Communications, LLC, directly or through its
                       8   subsidiaries, employs individuals within the Central District of California, including
                       9   employees who provide infringing products and services to customers here, and
                      10   maintains offices and facilities here. Comcast Cable Communications, LLC, directly
                      11   or through its subsidiaries, operates highly commercial websites through which
                      12   regular sales and/or leases of products and/or sales of services are made to customers
                      13   in this district, including products and services that, upon information and belief,
              P.C.




                      14   infringe the Asserted Patents.
MCKOOL SMITH, P C




                      15         33. This Court has general and/or specific personal jurisdiction over Comcast
                      16   Cable Communications Management, LLC, and venue is proper, in part because
                      17   Comcast Cable Communications Management, LLC, directly and/or in combination
                      18   with other Comcast entities and/or through its agents, does continuous and systematic
                      19   business in this district including by providing infringing products and services to
                      20   residents of the Central District of California, by providing infringing products and
                      21   services that it knew would be used in this district, and/or by participating in the
                      22   solicitation of business from residents of this district. In addition, upon information
                      23   and belief, Comcast Cable Communications Management, LLC, directly or through
                      24   its subsidiaries, places infringing products in the stream of commerce, which is
                      25   directed at this district, with the knowledge and/or understanding that such products
                      26   will be sold, leased, or otherwise provided to customers within this district. In
                      27   addition, upon information and belief, Comcast Cable Communications Management,
                      28                                            10

                                                     COMPLAINT FOR PATENT INFRINGEMENT
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                       1   LLC, directly or through its subsidiaries, employs individuals within the Central
                       2   District of California, including employees who provide infringing products and
                       3   services to customers here, and maintains offices and facilities here. Comcast Cable
                       4   Communications Management, LLC, directly or through its subsidiaries, operates
                       5   highly commercial websites through which regular sales and/or leases of products
                       6   and/or sales of services are made to customers in this district, including products and
                       7   services that, upon information and belief, infringe the Asserted Patents.
                       8         34. This Court has general and/or specific personal jurisdiction over Comcast
                       9   of Santa Maria, LLC and venue is proper, in part, because Comcast of Santa Maria,
                      10   LLC, directly and/or in combination with other Comcast entities and/or through its
                      11   agents, does continuous and systematic business in this district including by
                      12   providing infringing products and services to residents of the Central District of
                      13   California, by providing infringing products and services that it knew would be used
              P.C.




                      14   within this district, and/or by participating in the solicitation of business from
MCKOOL SMITH, P C




                      15   residents of this district. In addition, upon information and belief, Comcast of Santa
                      16   Maria, LLC, directly or through its subsidiaries, places infringing products within the
                      17   stream of commerce, which is directed at this district, with the knowledge and/or
                      18   understanding that such products will be sold, leased, or otherwise provided to
                      19   customers within this district. In addition, upon information and belief, Comcast of
                      20   Santa Maria, LLC, directly or through its subsidiaries, has a regular and established
                      21   business within the Central District of California, at least at the Comcast store and
                      22   service center at 685 East Betteravia Rd., Santa Maria, CA 93454. In addition, upon
                      23   information and belief, Comcast of Santa Maria, LLC, directly or through its
                      24   subsidiaries, employs individuals within the Central District of California, including
                      25   employees who provide infringing products and services to customers here, and
                      26   maintains offices and facilities here. Comcast of Santa Maria, LLC, directly or
                      27   through its subsidiaries, operates highly commercial websites through which regular
                      28                                             11

                                                     COMPLAINT FOR PATENT INFRINGEMENT
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                       1   sales and/or leases of products and/or sales of services are made to customers in this
                       2   district, including products and services that, upon information and belief, infringe
                       3   the Asserted Patents.
                       4         35. This Court has general and/or specific personal jurisdiction over Comcast
                       5   of Lompoc, LLC, and venue is proper, in part because Comcast of Lompoc, LLC,
                       6   directly and/or in combination with other Comcast entities and/or through its agents,
                       7   does continuous and systematic business in this district including by providing
                       8   infringing products and services to residents of the Central District of California, by
                       9   providing infringing products and services that it knew would be used in this district,
                      10   and/or by participating in the solicitation of business from residents of this district. In
                      11   addition, upon information and belief, Comcast of Lompoc, LLC, directly or through
                      12   its subsidiaries, places infringing products in the stream of commerce, which is
                      13   directed at this district, with the knowledge and/or understanding that such products
              P.C.




                      14   will be sold, leased, or otherwise provided to customers in this district. In addition,
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                      15   upon information and belief, Comcast of Lompoc, LLC, directly or through its
                      16   subsidiaries, has a regular and established business within the Central District of
                      17   California, at least at the Comcast store and service center at 1145 North H Street,
                      18   Suite B, Lompoc, CA 93436. In addition, upon information and belief, Comcast of
                      19   Lompoc, LLC, directly or through its subsidiaries, employs individuals in the Central
                      20   District of California, including employees who provide infringing products and
                      21   services to customers here, and maintains offices and facilities here. Comcast of
                      22   Lompoc, LLC, directly or through its subsidiaries, operates highly commercial
                      23   websites through which regular sales and/or leases of products and/or sales of
                      24   services are made to customers in this district, including products and services that,
                      25   upon information and belief, infringe the Asserted Patents.
                      26         36. This Court has general and/or specific personal jurisdiction over the
                      27   remaining Defendants, and venue is proper, in part because said Defendants, directly
                      28                                             12

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                       1   and/or in combination with Comcast Corporation and/or other Comcast Corporation
                       2   subsidiaries, and/or through their agents, do continuous and systematic business in
                       3   this district including by providing infringing products and services to residents of the
                       4   Central District of California, by providing infringing products and services that it
                       5   knew would be used within this district, and/or by participating in the solicitation of
                       6   business from residents of this district.
                       7         37. Venue is appropriate in this Court because the Plaintiff maintains its
                       8   business in this District. One of Rovi’s primary offices is situated at 2233 N. Ontario
                       9   St., Burbank, CA 91504 and employs approximately 85 employees, including
                      10   witnesses expected to testify in this action.
                      11
                                                        FACTUAL BACKGROUND
                      12
                      13   I.    ROVI’S HISTORY OF INNOVATION AND COMMERCIAL SUCCESS
              P.C.




                      14         38. Rovi has invested in developing the substantial majority of the pioneering
MCKOOL SMITH, P C




                      15   advances in IPG technology and related functionality for subscription-based
                      16   television (aka Pay-TV) broadcasting.
                      17         39. Since the launch of TV Guide Magazine in 1953, the Rovi family of
                      18   companies (which has included, through strategic mergers, joint ventures, and
                      19   acquisitions, United Video, TV Guide Onscreen, StarSight Telecast, Prevue, TV
                      20   Guide, Video Guide, Gemstar, Aptiv Digital, Macrovision, Veveo, and FanTV) has
                      21   been a pioneer and recognized leader in media technology, including the technology
                      22   used to facilitate consumer access to television and other audiovisual media. Today,
                      23   Rovi’s market-leading digital entertainment solutions enable the proliferation of
                      24   access to media on electronic devices; these solutions include products and services
                      25   related to IPGs and other content discovery solutions, personalized search and
                      26   recommendation, advertising and programming promotion optimization, and other
                      27   data and analytics solutions to monetize interactions across multiple entertainment
                      28                                               13

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                       1   platforms. Rovi’s solutions are used by companies worldwide in applications such as
                       2   cable, satellite, and internet protocol television (IPTV) receivers (including digital
                       3   television STBs and digital video recorders (DVRs)); PCs, mobile, and tablet
                       4   devices; and other means by which consumers connect to entertainment.
                       5         40. United Video was founded in Tulsa, OK, in 1965. United Video was a
                       6   visionary in broadcasting and entertainment throughout its history. United Video
                       7   offered the first electronic program guide in North America in 1981, almost 30 years
                       8   after the launch of TV Guide Magazine. This electronic program guide automatically
                       9   scrolled through program listings and did not provide any interactive program
                      10   features. Interactive program guides, which allow viewers to interact with program
                      11   listings, only became available later. Thus, before the 1990s and before United
                      12   Video’s innovations during that time period, television viewers could only access
                      13   program listings with printed guides or automatically scrolling electronic guides.
              P.C.




                      14         41. In the 1990s, United Video’s innovations established itself as a pioneer in
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                      15   digital broadcasting and interactive program guide technology, such as advanced
                      16   DVR features. United Video’s forward-looking advanced DVR technologies—
                      17   including functionalities such as remote server recording and multi-client IPG
                      18   systems that relate to the Asserted Patents—remain important features for the cable
                      19   industry even today.
                      20         42. In the late 1980s, another Rovi company invented the VCR Plus®, which
                      21   significantly simplified programming of videocassette recorders, enabling television
                      22   subscribers to more easily record the content they desired. VCR Plus® was a
                      23   resounding success and helped establish the Rovi family of companies as the
                      24   frontrunner in the program guide industry by broadly licensing its VCR Plus®
                      25   product and related technologies.
                      26         43. In the mid-1990’s, another Rovi company launched the first IPG services
                      27   designed for use in Pay-TV television receivers. These early IPGs were full-screen
                      28                                            14

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                       1   grid guides that displayed television program listings by time and channel in a two-
                       2   dimensional grid. Using a remote control, a user could interact with the guides to see,
                       3   for example, what was on television at a later time or on a different channel, instead
                       4   of depending on the automated scrolling of a traditional on-screen guide
                       5         44. Rovi’s IPG technologies today allow for multi-screen entertainment
                       6   across a variety of user devices (e.g., seamless access to the same media from
                       7   multiple devices and device types, like a television and mobile device), and provide
                       8   customizable listings for televisions, receivers, game consoles, and mobile devices,
                       9   thereby allowing consumers to find, discover, and enjoy the content they want, when
                      10   they want it, and where they want to access it. These and other innovations help users
                      11   navigate an increasingly overwhelming amount of content to discover and access
                      12   entertainment they actually want to watch on virtually any platform or device.
                      13         45. To maintain Rovi’s leadership position in this industry, Rovi has invested
              P.C.




                      14   and continues to invest significant resources in the design, development and licensing
MCKOOL SMITH, P C




                      15   of its IPGs and related technologies used by television service providers (as well as
                      16   others in the digital entertainment industry). For example, from 2014 to 2017, Rovi
                      17   invested over $300 million in research and development. Furthermore, Rovi has over
                      18   700 U.S.-based, full-time employees supporting the development of new products
                      19   and platforms.
                      20         46. Rovi has incorporated its technological innovations resulting from its
                      21   significant investment in research and development into its commercial products. For
                      22   example, Rovi’s i-Guide and Passport Guide are IPGs that provide comprehensive
                      23   listings, intuitive search capabilities, advanced DVR and Video-on-Demand
                      24   functionality, and HD support. Hundreds of small to mid-size cable operators, serving
                      25   millions of subscribers in the United States, use Rovi’s i-Guide and Passport Guide
                      26   IPG solutions today.
                      27
                      28                                           15

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                       1             47. In addition, Rovi invests heavily in next-generation IPTV solutions.
                       2       These investments have led to groundbreaking products like the Next-Gen Platform
                       3       IPG solution, which was announced to the public in January 2018 and released to the
                       4       public in April 2018. The Next-Gen Platform IPG solution serves an expanding base
                       5       of retail TiVo Bolt/VOX hardware users and cable operator-customers with industry-
                       6       leading IPTV features.
                       7             48. The value of Rovi’s innovative solutions has been recognized by
                       8       numerous leading Pay-TV service providers, which license these technologies and
                       9       solutions from Rovi. Today, almost 150 million households worldwide access Pay-
                      10       TV entertainment through Rovi’s technology.
                      11             49. In addition, Rovi’s innovative IPG related technologies have been
                      12       recognized through numerous industry awards and accolades. For example, in 2012
                      13       Rovi was awarded a Technology and Engineering Emmy® Award for its “Pioneering
              P.C.




                      14       On-Screen Interactive Program Guides” that assist “viewer[s] in rapidly locating their
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                      15       desired program.” These Emmy® awards are designed to recognize “developments . .
                      16       . involved in engineering technologies which either represent so extensive an
                      17       improvement on existing methods or are so innovative in nature that they materially
                      18       have affected the transmission, recording, or reception of television.”5
                      19             50. Rovi’s history of innovation is also reflected in the extensive patent
                      20       coverage awarded to Rovi for its inventions. This portfolio, which includes more than
                      21       4,500 issued or pending patents worldwide, is a direct result of Rovi’s substantial and
                      22       ongoing investment in research and development. The Asserted Patents are reflective
                      23       of this history of innovation, embodying a number of firsts in the development of IPG
                      24       and advanced DVR related technologies.
                      25
                      26   5
                                   Technology & Engineering, THE NATIONAL ACADEMY OF TELEVISION ARTS & SCIENCES,
                           http://emmyonline.com/tech (last visited Dec. 17, 2018).
                      27
                      28                                               16

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                       1         51. The strength of Rovi’s patent portfolio has been recognized by the
                       2   entertainment industry. Every major U.S. Pay-TV provider, including AT&T (which
                       3   recently acquired DirecTV), Charter, Dish, and Verizon among others, has
                       4   acknowledged the value of Rovi’s innovations by licensing Rovi’s patents covering
                       5   these innovations—and renewing those licenses in the last few years. Comcast itself
                       6   once licensed Rovi’s portfolio for over $250 million for a fixed term (March 2004 –
                       7   March 2016). Many leading video content providers, including both traditional media
                       8   (cable, satellite, IPTV) and new media (online, mobile), as well as manufacturers and
                       9   distributors of receivers and other consumer electronic devices, have also licensed
                      10   Rovi’s patent portfolio. Yet, despite this widespread recognition of the value and
                      11   importance of Rovi’s patent portfolio, Comcast decided to free ride, refusing to
                      12   renew its license and compensate Rovi.
                      13         52. Rovi’s long-term financial success depends, in part, on its ability to
              P.C.




                      14   establish, maintain, and protect its proprietary technology through patents. Comcast’s
MCKOOL SMITH, P C




                      15   infringement presents significant and ongoing harm to Rovi’s business.
                      16
                           II.   COMCAST HAS LONG BENEFITED FROM ITS USE OF ROVI’S
                      17         PATENTED TECHNOLOGIES
                      18
                                 53. Before Comcast first licensed Rovi’s patents, it measured business
                      19
                           success with reference to how many subscribers it had. Comcast did not historically
                      20
                           measure its business success by the quality of the services it provided to its
                      21
                           customers. Comcast touted itself in its 2002 10-K as being the “largest cable operator
                      22
                           in the United States.”
                      23
                                 54. Nonetheless, beginning in or around 2004, Comcast began attributing
                      24
                           revenue growth to its “advanced services” including Video-on-Demand (VOD) and
                      25
                           digital-video-recording (DVR). Comcast recognized that its future business success
                      26
                           depended on product differentiation from other cable operators and satellite
                      27
                      28                                            17

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                       1       providers—product differentiation provided by offering advanced services to its
                       2       customers.
                       3             55. In 2004, to secure the growth in its “advanced services,” Comcast entered
                       4       into a license agreement with Gemstar (a forerunner to Rovi) (2004 Agreement)
                       5       which Comcast described in SEC filings as an effort “to acquire and develop
                       6       technology that will drive product differentiation and new applications and extend
                       7       our nationwide fiber-optic network”6 and enhance Comcast’s IPG platform to
                       8       improve Comcast’s ability to challenge its competitors. Importantly, the 2004
                       9       Agreement was not a sale of technology from Gemstar to Comcast by which Comcast
                      10       “acquired” the technology from Gemstar; it was a license for a fixed term during
                      11       which Comcast had permission from Gemstar to use that technology for specific
                      12       purposes, but only until the license expired. The 2004 Agreement included a Joint
                      13       Venture with Gemstar called GuideWorks, under which Gemstar would help
              P.C.




                      14       Comcast develop a next generation IPG platform, as well as a license to Gemstar’s
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                      15       guidance patent portfolio.
                      16             56. Comcast’s use of Rovi’s (then Gemstar’s) technology to develop and
                      17       enhance IPGs to be offered by Comcast is evidenced, among other ways, by
                      18       Comcast’s description of the 2004 Agreement in the Comcast 2006 10-K SEC filing.
                      19       Comcast stated, “This [2004 Agreement] allows us to utilize Gemstar’s intellectual
                      20       property and technology and the TV Guide brand and content on our interactive
                      21       program guides. . . . In addition, we and Gemstar formed an entity to develop and
                      22       enhance interactive programming guides.”7
                      23
                      24
                      25   6
                                   See Comcast Annual Report 2004 at 18, available at
                      26   http://www.annualreports.com/HostedData/AnnualReportArchive/c/NASDAQ_CMCSA_2004.pdf.
                           7
                                    Id. at 48.
                      27
                      28                                              18

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                       1             57. In order to further secure improved products and services, in 2004,
                       2       “Comcast sign[ed] strategic agreements with Gemstar-TV Guide and Microsoft to
                       3       develop enhancements to the user interface and the functionality of its service
                       4       offerings.”8
                       5             58. Comcast’s 10-K SEC filings from 2004 to date consistently evidence
                       6       Comcast’s recognition of the importance of the technology needed to provide
                       7       advanced services in connection with its digital cable services, including advanced
                       8       VOD and DVR features. In fact, in its 2004 10-K, Comcast noted that its “subscriber
                       9       growth is attributable to new and improved products and advanced services in our
                      10       digital cable and high-speed Internet services.”9 Each filing thereafter provides
                      11       additional evidence that Comcast recognized the importance of its advanced services.
                      12       Increased competition from telecommunications providers, ISPs, and satellite
                      13       companies in the provision and delivery of new and advanced services was, and since
              P.C.




                      14       2004 has been, one of Comcast’s greatest competitive concerns.
MCKOOL SMITH, P C




                      15             59. Rovi is informed and believes that the technology Rovi made available to
                      16       Comcast during the term of the 2004 Agreement was foundational to Comcast’s
                      17       ability from 2004 to the present to offer new and advanced services, to grow its
                      18       business, and to develop its own IPG and advanced service platforms, and throughout
                      19       that period Comcast personnel were aware of these facts.
                      20             60. In 2010, Comcast and Rovi terminated their joint venture, while at the
                      21       same time Comcast reaffirmed its need for Rovi technology by entering into an
                      22       expanded patent license agreement with Rovi. Indeed, Rick Rioboli, SVP, Comcast
                      23
                      24
                      25   8
                                    See Comcast Timeline, COMCAST, http://corporate.comcast.com/news-information/timeline
                      26   (last visited Dec. 17, 2018).
                           9
                                    See Comcast Annual Report 2004 at 18.
                      27
                      28                                                19

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                       1    Metadata Products and Search Services, remarked that “Rovi has been a very
                       2    important partner of ours for many years.” 10
                       3           61. In 2012, while under license to Rovi’s patents, Comcast launched the X1
                       4    IPG Product, which it describes as “a cloud‐enabled video platform that transformed
                       5    the TV into an interactive, integrated entertainment experience.” 11
                       6           62. In 2014, also during the pendency of its then soon-to-expire License to
                       7    Rovi’s patents, Comcast introduced the next generation of its X1 IPG Product, which
                       8    it describes as “designed to make navigation, search and discovery of content easier
                       9    and quicker than ever before. The X1 IPG Product gives customers an interactive TV
                      10    experience, providing instant access to all of their Entertainment.” 12
                      11           63. As set forth herein, Comcast’s X1 IPG Product is designed to and does
                      12    infringe at least one claim of each of the Asserted Patents.
                      13           64. Comcast has an installed base of several million X1 subscribers and is
              P.C.




                      14    continuing to market throughout the United States to further expand the reach of its
MCKOOL SMITH, P C




                      15    X1 IPG Product.13
                      16           65. Even today, Comcast recognizes the critical role that its infringing IPG
                      17    platform has in driving product differentiation and consumer demand for its products
                      18    and services. For example, Comcast explained to the FCC that “the interface is how
                      19    MVPDs [multichannel video program distributors] . . . differentiate themselves in a
                      20
                      21
                      22   10
                                     Rovi        Corporation      Sends       Letter      to       Stockholders,      TIVO,
                           http://pr.tivo.com/file/4206196/Index?KeyFile=29075378 (last visited Nov. 29, 2018).
                      23   11
                                   See Our Story, COMCAST, http://corporate.comcast.com/our-company/our-story, archived at
                      24   https://web.archive.org/web/20170519044316/http://corporate.comcast.com/our-company/our-story.
                           12
                                  Id.
                      25
                           13
                                   See Comcast Annual Report 2017 at 3-4 (Comcast’s cable distribution footprint), 40,
                      26   available at https://www.cmcsa.com/static-files/111ba611-eb85-4edc-9000-3907c84697d8; CMCSA
                           - Q4 2017 Comcast Corp Earnings Call at 7, available at https://www.cmcsa.com/static-
                      27   files/80bfd80b-e421-43d8-b28b-1be5f1b871d8.
                      28                                               20

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                       1    highly competitive marketplace.” 14 Comcast further explained that, “[f]aced with
                       2    fierce competition, providers are intent on giving consumers the flexibility they
                       3    demand to access video programming on the devices of their choice, and delivering
                       4    more value to customers.”15
                       5            66. On March 31, 2016, Comcast’s license to use the Rovi technology
                       6    expired. Comcast refused to execute a new license, yet continues to practice the
                       7    inventions claimed in Rovi’s patents, and continues to offer, lease, and distribute the
                       8    X1 product and enhanced IPG platform that not only infringes Rovi’s patents, but
                       9    could not and would not ever have been lawfully developed but for the license of
                      10    Rovi’s technology granted to Comcast in the 2004 Agreement, which has now
                      11    expired.
                      12
                            III.    COMCAST AND ROVI ARE COMPETITORS IN THE
                      13            DEVELOPMENT AND PROVISION OF IPG SOLUTIONS
              P.C.




                      14
                C




                                    67. Comcast markets and provides its Accused Products, including the X1
MCKOOL SMITH, P




                      15
                            IPG Product, in the United States to subscribers. Comcast explains to its subscribers
                      16
                            and would-be subscribers that the Accused Products, including X1 set-top boxes,
                      17
                            provide advanced DVR features covered by the asserted patents. For example,
                      18
                            Comcast has branded these DVR features as “X1 AnyRoom DVR,” 16 “X1 Cloud
                      19
                            DVR,” 17 and downloading and scheduling recordings on the “Xfinity Stream App” 18
                      20
                            and provides instructions for these features on its website and forums.
                      21
                      22   14
                                  See Comments of Comcast Corporation and NBCUniversal Media, LLC, at 34 n.63 (April
                      23   22, 2016), available at http://corporate.comcast.com/images/2016-04-22-AS-FILED-Comcast-
                           DSTAC-STB-NPRM-Comments.pdf.
                      24   15
                                   Id. at 3.
                      25   16
                                   X1 AnyRoom DVR – What it is and How it Works, XFINITY,
                           https://www.xfinity.com/support/articles/x1-anyroom-dvr-overview (last visited Nov. 13, 2018).
                      26   17
                                   X1 Cloud DVR FAQs, XFINITY, https://www.xfinity.com/support/articles/x1-dvr-cloud-
                      27   technology-general-faqs (last visited Nov. 13, 2018).

                      28                                                 21

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                       1            68. Rovi invests in the development of innovative guide products, including
                       2    Next-Gen, i-Guide, and Passport that compete directly and indirectly with Comcast’s
                       3    Accused Products in the United States. Rovi’s next-generation IPTV products not
                       4    only provide fundamental DVR functionalities covered by the Asserted Patents, such
                       5    as “Multi-Room DVR,” but also allow users to download recordings to portable
                       6    devices, such as Smartphones and Tablets, using the TiVo App. And in the first half
                       7    of 2019, Next-Gen will include network DVR (nDVR) functionality that provides
                       8    viewers with remote server recording functionality. Rovi’s i-Guide and Passport IPG
                       9    solutions are used by hundreds of small to mid-size cable operators, serving millions
                      10    of subscribers, to provide fundamental DVR functionalities covered by the Asserted
                      11    Patents, such as “Multi-Room DVR.”
                      12            69. Comcast also markets and licenses its Accused Products, including the
                      13    X1 IPG Product, in the United States to other Pay-TV providers in competition with
              P.C.




                      14    Rovi as part of its X1 Syndication Platform. 19 As an example of this competition
MCKOOL SMITH, P C




                      15    between Rovi and Comcast, Cequel III Programming, LLC d/b/a Suddenlink
                      16    Communications (Suddenlink) has, for the past several years, licensed Rovi’s i-Guide
                      17    IPG platform, which Suddenlink has deployed to hundreds of thousands of
                      18    subscribers. Comcast has marketed its X1 syndication product, including the DVR
                      19    features covered by the Asserted Patents, to Suddenlink, in direct competition to
                      20    Rovi.
                      21            70. In addition, Comcast promoted its infringing products and services by
                      22    announcing, on April 20, 2016, the launch of its Xfinity TV Partner Program, in order
                      23    to encourage and enable television and consumer electronics companies to implement
                      24
                      25   18
                                   Get Access to Xfinity Stream, XFINITY, https://www.xfinity.com/get-stream (last visited Nov.
                      26   13, 2018).
                           19
                                   Transforming Your Customers’ Experience. COMCAST TECHNOLOGY SOLUTIONS,
                      27   https://www.comcasttechnologysolutions.com/our-portfolio/x1-platform (last visited Dec. 10, 2018).
                      28                                                 22

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                       1    Comcast’s Xfinity IPG app, which “will provide access to [Comcast’s] TV cable
                       2    service, . . . live and on demand programming and cloud DVR recordings, and will be
                       3    available on partners’ smart TVs, TV-connected devices, and other IP-enabled video
                       4    devices.”20 Comcast continues to promote its Xfinity TV Partner Program today,
                       5    advertising “an intuitive user interface, personalized content, and cloud DVR
                       6    recordings.” 21
                       7           71. Upon information and belief, Comcast will continue to market its X1 IPG
                       8    Product to customers as well as to other Pay-TV providers (including Pay-TV
                       9    providers that do not have a license to Rovi’s patents)—in direct competition with
                      10    Rovi’s own patent-protected IPG products.
                      11
                            IV.    COMCAST’S INFRINGING PRODUCTS AND SERVICES
                      12
                                   72. Upon information and belief, Comcast is in the business of providing
                      13
                            digital video, audio, and other content services to customers under the name
              P.C.




                      14
MCKOOL SMITH, P C




                            “Xfinity.” Comcast provides its subscribers with at least one Accused Product that is
                      15
                            necessary for the receipt of such services.
                      16
                                   73. Upon information and belief, Xfinity products and services are provided
                      17
                            to consumers through the coordinated and combined participation of Comcast and/or
                      18
                            under Comcast’s instruction, direction, and/or control. Directly and/or indirectly,
                      19
                            Comcast Corporation owns regional subsidiaries that provide telecommunications
                      20
                            and video services to customers in a number of states. Xfinity services have been
                      21
                      22
                           20
                      23           Mark Hess, Comcast Seeks TV and Other Consumer Electronics Partners to Bring Xfinity TV
                           Cable Service to More Retail Devices, COMCAST (Apr. 20, 2016), available at
                      24   https://corporate.comcast.com/comcast-voices/comcast-seeks-partners-to-bring-xfinity-tv-cable-
                           service-to-more-retail-devices; see also Jeff Baumgartner, Comcast to Stream Its Pay TV Service to
                      25   LG TVs, MULTICHANNEL (Sept. 25, 2017), available at
                           https://www.multichannel.com/news/comcast-stream-its-pay-tv-service-lg-tvs-415485.
                      26
                           21
                                   Xfinity TV Partner Program, XFINITY,
                      27   https://developer.comcast.com/site/tv_partner_program/index.gsp (last visited Dec. 11, 2018).
                      28                                                 23

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                       1   made available to consumers through at least the following regional subsidiaries
                       2   owned, directly or indirectly, by Comcast Corporation: Comcast of
                       3   Arkansas/Florida/Louisiana/Minnesota/Mississippi/Tennessee, Inc.; Comcast of
                       4   Boston, Inc.; Comcast of California II, LLC; Comcast of California III, Inc.; Comcast
                       5   of California IX, Inc.; Comcast of California/Colorado, LLC; Comcast of
                       6   California/Colorado/Florida/Oregon, Inc.; Comcast of
                       7   California/Colorado/Illinois/Indiana/Michigan, LP; Comcast of
                       8   California/Maryland/Pennsylvania/Virginia/West Virginia, LLC; Comcast of
                       9   California/Massachusetts/Michigan/Utah, LLC; Comcast of Colorado IX, LLC;
                      10   Comcast of Colorado/Florida/Michigan/New Mexico/Pennsylvania/Washington,
                      11   LLC; Comcast of Colorado/Pennsylvania/West Virginia, LLC; Comcast of
                      12   Connecticut, Inc.; Comcast of Connecticut/Georgia/Massachusetts/New
                      13   Hampshire/New York/North Carolina/Virginia/Vermont, LLC; Comcast of
              P.C.




                      14   Florida/Georgia/Illinois/Michigan, LLC; Comcast of Florida/Georgia/Pennsylvania,
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                      15   L.P.; Comcast of Garden State, L.P.; Comcast of Houston, LLC; Comcast of Illinois
                      16   VI, Inc.; Comcast of Illinois/Indiana/Ohio, LLC; Comcast of Lompoc, LLC; Comcast
                      17   of Maine/New Hampshire, Inc.; Comcast of Maryland, LLC; Comcast Cable of
                      18   Maryland, LLC; Comcast of Massachusetts I, Inc.; Comcast of Massachusetts II, Inc.;
                      19   Comcast of Massachusetts III, Inc.; Comcast of Massachusetts/New Hampshire,
                      20   LLC; Comcast of New Jersey II, LLC; Comcast of Oregon II, Inc.; Comcast of
                      21   Philadelphia II, LLC; Comcast of Potomac, LLC; Comcast of Santa Maria, LLC;
                      22   Comcast of South Jersey, LLC; Comcast of Southeast Pennsylvania, LLC; Comcast
                      23   of the South; Comcast of Utah II, Inc.; and Mile Hi Cable Partners, LP (collectively,
                      24   regional subsidiaries).
                      25         74. Upon information and belief, Comcast Corporation and its regional
                      26   subsidiaries hold themselves out as a single entity in providing the infringing Xfinity
                      27   products and services. Comcast’s various Xfinity services are centrally advertised,
                      28                                           24

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                       1    documented, and explained on the website, www.xfinity.com. Upon information and
                       2    belief, the Comcast regional subsidiaries use identical contracts and other documents
                       3    in the provision of the infringing Comcast Xfinity products and services that are
                       4    generated and approved by Comcast Corporation and/or collectively by the
                       5    aforementioned regional subsidiaries. For example, Comcast Xfinity TV services
                       6    have the same “Residential Services Policies” for residential customers, regardless of
                       7    their location.22
                       8            75. Upon information and belief, acting through one or more of its officers
                       9    and/or its board of directors, Comcast Corporation has: (a) approved and authorized
                      10    the development by designated Comcast Corporation subsidiaries of the technology
                      11    and infrastructure necessary to offer the Xfinity service to the consuming public;
                      12    (b) approved and authorized the capital expenditures by its subsidiaries necessary to
                      13    provide the Xfinity service to consumers; and/or (c) authorized and directed its
              P.C.




                      14    regional subsidiaries to provide the Xfinity service under the Comcast brand to
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                      15    consumers in their operating areas. Comcast Corporation further directed and
                      16    controlled the activities of its regional subsidiaries. In doing so, Comcast Corporation
                      17    (together with the remaining Defendants) actively induced the infringement of such
                      18    subsidiaries.
                      19            76. Comcast markets the Xfinity service to subscribers of each of the
                      20    regional subsidiaries described above and actively solicits their business through
                      21    Comcast’s website.
                      22            77. Upon information and belief, Comcast has been involved in the design,
                      23    testing, and implementation of the Xfinity service. Upon information and belief,
                      24    Comcast provides overall management and coordination of the elements of the
                      25
                      26   22
                                    See Xfinity Terms of Service, XFINITY, http://my.xfinity.com/terms/ (last visited Dec. 17,
                           2018).
                      27
                      28                                                    25

                                                          COMPLAINT FOR PATENT INFRINGEMENT
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                       1   network used to deliver Comcast’s Xfinity services, and of the regional subsidiaries
                       2   that own and operate those elements.
                       3         78. In addition, Comcast has caused and directed at least the regional
                       4   subsidiaries to engage in activities, including those activities described above, that
                       5   have resulted in the infringement of one or more claims of the Asserted Patents. In
                       6   performing the activities that, either individually or in combination, have infringed
                       7   one or more claims of the Asserted Patents, the regional subsidiaries have acted as
                       8   agents of at least Comcast Corporation, and their infringing activities have been
                       9   within the course and scope of that agency.
                      10         79. Upon information and belief, Comcast does not manufacture the set-top
                      11   boxes that it provides to Xfinity customers, but it is closely “involved with the
                      12   design, manufacture, and importation” of these Accused Products. Certain Digital
                      13   Video Receivers and Hardware and Software Components Thereof, Inv. No. 337-TA-
              P.C.




                      14
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                           1001, Initial Determination, (June 27, 2017) (Final Public Version) at 12. Comcast’s
MCKOOL SMITH, P




                      15   X1 set-top boxes are “so tailored” to Comcast’s X1 system that “they would not
                      16   function within another cable operator’s system.” Id. (citations omitted).
                      17         80. Comcast set-top boxes contain, or are designed to receive and execute,
                      18   software (including IPG software) enabling a Comcast subscriber to infringe the
                      19   Asserted Patents. Upon information and belief, the receivers are specifically
                      20   manufactured to be combined with such software for use in Comcast’s service
                      21   infrastructure. Comcast leases and/or otherwise provides to its subscribers these
                      22   receivers along with user guides and manuals describing how to use the receivers and
                      23   their associated features.
                      24         81. In addition, Comcast provides mobile applications, such as the Xfinity
                      25   Stream App, for controlling DVR and program guide functionality that are usable
                      26   only by paying subscribers to Comcast’s Xfinity services. Comcast enables
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                      28                                             26

                                                        COMPLAINT FOR PATENT INFRINGEMENT
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                       1    subscribers to download and store DVR recordings on their mobile devices using the
                       2    Xfinity Stream App.
                       3           82. Rovi is informed and believes that Comcast has engaged in activities that
                       4    promote the use and distribution of the X1 IPG Product and the Xfinity services and
                       5    thereby encourages the infringement of Rovi’s patents. Those activities include,
                       6    among others, its instructions for X1 subscribers on how to infringe Rovi’s patents.
                       7    For example, Comcast instructs its subscribers how to use X1 AnyRoom DVR to
                       8    watch recorded shows on any X1 TV Box they have in the home. 23 As another
                       9    example, Comcast informs its subscribers that they can, from Comcast’s websites,
                      10    “[l]earn how to download cloud-based DVR recordings and available Xfinity On
                      11    Demand content to your Apple or Android device. We’ll show you how to download
                      12    and check in recordings and On Demand programs using the Apple version of the
                      13    mobile app.”24
              P.C.




                      14           83.    Rovi is informed and believes that, in or before 2012, Comcast was
MCKOOL SMITH, P C




                      15    considering ways: (a) to promote the adoption of its X1 IPG platform, which
                      16    extensively utilizes Rovi’s patented technology, as an industry standard; (b) to have
                      17    new applications and enhancements to its platform developed; and (c) to avoid the
                      18    research and development cost of developing such new applications and
                      19    enhancements.
                      20           84. Upon information and belief, the solution to meet those three goals was
                      21    for Comcast to develop a defined stack of software on one layer of an operating set-
                      22    top box. Comcast made significant “effort[s] to get vendors such as original
                      23
                      24   23
                                   X1 AnyRoom DVR – What It Is and How It Works, XFINITY,
                      25   https://www.xfinity.com/support/articles/x1-anyroom-dvr-overview (last visited Oct. 10, 2018).
                           24
                      26           Download Cloud-Based DVR Recordings and Xfinity On Demand Content to Your Device,
                           XFINITY, https://www.xfinity.com/support/articles/x1-xfinity-tv-app-download-a-program (last
                      27   visited Oct. 10, 2018).

                      28                                                 27

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                       1    equipment manufacturers (OEMs), semiconductor manufacturers, software vendors,
                       2    software integrators and multichannel video programming distributors to create an
                       3    ecosystem for new gear for cloud-based and hybrid video serves like Comcast’s X1
                       4    service.” 25 Comcast is substantially involved in the design and manufacture of the
                       5    receivers, including set-top boxes, onto which the infringing Comcast IPGs are
                       6    loaded.
                       7           85. Upon information and belief, Comcast obtains significant quantities of
                       8    specially designed, unlicensed receivers, including set-top boxes, from third parties.
                       9           86. Upon information and belief, over half of Comcast’s 22 million
                      10    subscribers are on the X1 platform. 26 Comcast has had and continues to have
                      11    significant involvement in the importation and distribution of receivers. Comcast has
                      12    held itself out as the “supplier” of its receivers, including its set-top boxes that it
                      13    distributes to its subscribers. For example, in connection with the FCC filing made by
              P.C.




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                            Comcast relating to the potential merger of Comcast and Time Warner, Comcast
MCKOOL SMITH, P




                      15    repeatedly referred to “Comcast-supplied set-top boxes,” and characterized set-top
                      16    boxes used in connection with the X1 platform as “Comcast’s.” 27
                      17           87. Upon information and belief, these Comcast receivers contain, or are
                      18    designed to receive and execute, software (including IPG software) enabling
                      19    advanced DVR features such as: recording programs on one device and playing back
                      20
                           25
                      21            News and Events, Pace licenses RDK set top design kit from Comcast, RDK CENTRAL,
                           http://rdkcentral.com/test/pace-licenses-rdk-set-top-design-kit-from-comcast/ (last visited Dec. 18,
                      22   2018); see also Deborah D. McAdams, Motorola Mobility Licenses Comcast RDK, TVTECHNOLOGY
                           (Aug. 22, 2012), http://www.tvtechnology.com/news/0002/motorola-mobility-licenses-comcast-
                      23   rdk/215089 (noting Comcast’s attempts to license RDK).
                      24   26
                                  David Hayes, Comcast X1 Subscribers Can Get Epix In Early 2018 Under New Distribution
                           Deal, DEADLINE (Nov. 28, 2017, 9:33 AM), http://deadline.com/2017/11/comcast-x1-subscribers-
                      25   get-epix-in-early-2018-under-new-distribution-deal-1202215657/.
                      26   27
                                See generally In re Comcast Corp., MB Dkt. No. 14-57, Opp’n to Pets. to Deny & Resp. to
                           Comments (Sept. 23, 2014), available at http://apps.fcc.gov/ecfs/document/view?id=7522909787.
                      27
                      28                                                 28

                                                        COMPLAINT FOR PATENT INFRINGEMENT
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                       1   those programs on another device; watching programs from a point prior to when the
                       2   program was tuned to using a remote server; beginning watching a program on one
                       3   device and resuming watching the program on another device or choosing an option
                       4   to resume watching from a prior point; causing a program to be transferred from a
                       5   first storage device to a second storage device and stored for later playback, and
                       6   managing directories of remote server recordings. Comcast designs the infringing
                       7   IPG software that is loaded onto such receivers (and for which purpose such receivers
                       8   were designed).
                       9         88. Upon information and belief, Xfinity products and services are provided
                      10   to consumers through the coordinated and combined participation of Comcast and/or
                      11   under Comcast’s instruction, direction, and/or control.
                      12   V.    COMCAST REFUSES TO RENEW ITS LICENSE—
                      13         NOTWITHSTANDING LITIGATION AND FINDINGS OF
                                 INFRINGEMENT OF CERTAIN ROVI PATENTS
              P.C.




                      14
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                      15         89. On April 1, 2016, Rovi sued Comcast in two district court actions for

                      16   infringing various patents not asserted here. One of those actions is stayed in the

                      17   Southern District of New York (Case No. 1:16-cv-09826). The other action is

                      18   partially stayed in the Southern District of New York while proceeding on certain

                      19   claims. (Case No.1:16-cv-09278).

                      20         90. On April 6, 2016, Rovi brought an enforcement action against Comcast

                      21   in the International Trade Commission for importing products that infringe various

                      22   patents—again, patents not asserted here. In November 2017, the Commission found

                      23   that Comcast’s X1 STBs infringed two of those patents, excluded future imports of

                      24   these boxes, and ordered Comcast not to import or distribute infringing products. See

                      25   generally In re Certain Digital Video Receivers & Hardware & Software

                      26   Components Thereof, Inv. No. 337-TA-1001, Comm’n Op. (Dec. 6, 2017) (Final

                      27   Public Version).

                      28                                           29

                                                    COMPLAINT FOR PATENT INFRINGEMENT
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                       1           91. On January 10, 2018, Rovi again sued Comcast in two district court
                       2   actions for infringing various patents not asserted here. On February 8, 2018, Rovi
                       3   brought an enforcement action against Comcast in the International Trade
                       4   Commission for importing products that infringe these same patents (Inv. No. 337-
                       5   TA-1103). The two district court actions are stayed in the Central District of
                       6   California (Case No. 2:18-cv-00253) and the District of Massachusetts (Case No.
                       7   1:18-cv-10056) pending the resolution of the enforcement action in the International
                       8   Trade Commission.
                       9           92. And yet even after the ITC orders, and even despite the currently pending
                      10   actions, Comcast refuses to renew its License to Rovi’s portfolio. Comcast continues
                      11   to make, use, sell, offer to sell, lease, offer to lease, import, and distribute products
                      12   that infringe Rovi’s patents, including the Asserted Patents in this Complaint.
                      13   Comcast continues to violate Rovi’s intellectual property rights with impunity and
              P.C.




                      14   use Rovi’s technology for free, while all of Comcast’s competitors agree to pay a
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                      15   reasonable price for a license to Rovi’s valuable patent portfolio.
                      16
                                                       FIRST CLAIM FOR RELIEF
                      17
                                           INFRINGEMENT OF U.S. PATENT NO. 9,055,319
                      18
                      19           93. Plaintiff realleges and incorporates by reference the allegations of

                      20   paragraphs 1-92 of this Complaint.

                      21           94. The ’319 Patent is valid and enforceable under United States Patent

                      22   Laws.

                      23           95. Rovi Guides, Inc. owns, by assignment, all right, title, and interest in and

                      24   to the ’319 Patent, including the right to collect for past damages.

                      25           96. A certified copy of the ’319 Patent is attached as Exhibit A.

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                                                     COMPLAINT FOR PATENT INFRINGEMENT
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                       1                                      The ’319 Patent
                       2         97. The ’319 Patent describes, among other things, a system for playing back
                       3   recorded programs on a different device than the device that recorded the program.
                       4   The patent discloses that a first device (e.g., an STB) records a program in response
                       5   to a user request. The first device later receives a request to playback the program
                       6   from another device (e.g. a second STB) and transmits the program to the second
                       7   device. The second device receives the transmitted program from the first device and
                       8   generates the received program for display on a screen.
                       9         98. As the ʼ319 Patent describes, the user may initiate a record request for a
                      10   program:
                      11               When a user indicates a desire to record a program or
                                       program grouping on remote media server 24 or local media
                      12               server 29 (and possibly a desire to confirm recording of the
                                       program), the program guide generates a record request that
                      13               is transmitted to the appropriate remote media server by
                                       communications device 51 (FIG. 9) via communications
              P.C.




                      14               path 20 or 31. The record request may include, for example,
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                                       an identifier for the program that the user wishes to record,
                      15               an identifier for the user, and, if desired, any other
                                       information related to the program and the user. If the user
                      16               indicated a desire to record a program grouping, the request
                                       may include a grouping identifier or the program identifiers
                      17               of the constituent programs.
                      18   ʼ319 Patent at 22:12-24.
                      19         99. In response, a media server may record the program, store any associated
                      20   program guide data, and provide a directory:
                      21               At the time a selected program or program in a grouping airs
                                       (which may be the time at which the program is selected for
                      22               recording), remote media server 24 or local media server 29
                                       may record the program and any associated program guide
                      23               data. Program guide data may be stored as files associated
                                       with the program using pointers. Once the selected program
                      24               is recorded, remote media server 24 or local media server 29
                                       may provide a copy of user directory 59 to the program
                      25               guide if the program guide maintains a copy of user
                                       directories. Alternatively, remote media server 24 or local
                      26               media server 29 may provide a pointer to the location of the
                                       program on media store 63. In still another suitable
                      27               approach, user directories 59 may be maintained solely by
                                       remote media server 24 or local media server 29 and
                      28                                            31

                                                      COMPLAINT FOR PATENT INFRINGEMENT
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                       1              provided to the program guide on request.
                       2   ʼ319 Patent at 22:12-39.
                       3         100. The user can access the directory of recorded programs in a number of
                       4   ways and the system may use an overlay to display the directory:
                       5              The program guide may provide the user with the
                                      opportunity to access a directory or other such list of
                       6              programs that have been recorded for the user on remote
                                      media server 24 or local media server 29. The user may
                       7              indicate a desire to access a directory or list of recorded
                                      programs by, for example, pressing a “DIR” key on remote
                       8              control 40 or selecting a “Directory” feature from main
                                      menu 107. FIGS. 18 a and 18 b show illustrative overlays
                       9              320 that may be displayed by the program guide when the
                                      user indicates a desire to view a directory of the programs
                      10              that the user has recorded on remote media server 24 or local
                                      media server 29. FIG. 18 a shows overlay 320 overlaid on
                      11              top of the video of the channel that the viewer is watching.
                                      FIG. 18 b shows overlay 32 overlaid on top of a program
                      12              listings screen. Overlay 320 may display any information
                                      related to the programming that the user has selected for
                      13              recording by remote media server 24 or local media server
                                      29. Overlay 320 may display, for example, the channels and
              P.C.




                      14              titles of the recorded programs, the dates and times they are
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                                      recorded, or any other suitable information.
                      15
                                      Program listings for recorded programs may be organized by
                      16              channel, theme, user, or by any other suitable criteria. In
                                      practice, program listings for recorded programs may be
                      17              displayed in overlays based on the type of display screen
                                      over which the overlays are displayed. In FIG. 18 b, for
                      18              example, listings are displayed by time because the display
                                      screen over which they are displayed displays program
                      19              listings by time. FIG. 18 c shows listings of recorded
                                      programs in the movies category, because the display screen
                      20              over which they are displayed only displays listings for
                                      movies. FIGS. 18 b and 18 c are illustrative and any suitable
                      21              criteria may be used. In addition, program listings may be
                                      displayed using display criteria or based on themes when the
                      22              program listings are overlaid on top of a video the user is
                                      watching.
                      23
                           ʼ319 Patent at 22:47-23:12.
                      24
                                 101. The ʼ319 Patent provides illustrative directory screens that may be
                      25
                           displayed by the program guide:
                      26
                                      FIG. 18d shows an illustrative directory screen 350 that may
                      27              be displayed by the program guide when the user indicates a
                                      desire to view a directory of the programs that the user has
                      28                                         32

                                                      COMPLAINT FOR PATENT INFRINGEMENT
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                       1              recorded on remote media server 24 or local media server
                                      29. Directory screen 350 may display program-related
                       2              information like that displayed by overlay 320. Directory
                                      screen 350 may also include other program guide display
                       3              screen elements, such as selectable advertisements, service
                                      provider logos, brand logos, advertisement banners, etc.
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              P.C.




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MCKOOL SMITH, P C




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                      24   ʼ319 Patent at 23:13-21, FIG. 18d.
                      25         102. Using the directory, the user can playback a recorded program on
                      26   demand:
                      27              The program guide may provide users with the opportunity
                                      to play programs on demand that users have previously
                      28                                      33

                                                   COMPLAINT FOR PATENT INFRINGEMENT
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                       1               recorded on remote media server 24 or local media server
                                       29. Remote media server 24 or local media server 29 may
                       2               play programs on-demand in response to playback requests
                                       generated by the program guide. As used herein, “playback
                       3               request” is intended to mean any command, request,
                                       message,     remote    procedure     call,  object   based
                       4               communication, or any other type of interprocess or inter-
                                       object based communication whereby the program guide
                       5               may communicate information to a media server specifying
                                       which program the user wishes to play back. The program
                       6               guide may generate playback requests when a user indicates
                                       a desire to view a program that has been recorded. The user
                       7               may indicate a desire to view a program that has been
                                       recorded by, for example, highlighting a listing in a
                       8               directory or list and pressing a “PLAY” key on remote
                                       control 40.
                       9
                                       When the user indicates a desire to view a program that has
                      10               been recorded, the program guide generates a playback
                                       request that is transmitted by communications device 51 to
                      11               remote media server 24 or local media server 29 via
                                       communications path 20 or 31.
                      12
                           ʼ319 Patent at 25:16-38.
                      13
                                                   Historical Context of the ʼ319 Patent
              P.C.




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                                 103. Over the years, cable, satellite, and broadcast television providers have
                      15
                           offered an increasingly large number of television channels and television program
                      16
                           listings. Traditionally, users would consult printed television program schedules to
                      17
                           determine the programs being broadcast at particular times. ʼ319 Patent at 1:26-30. In
                      18
                           the years leading up to the ʼ319 Patent, interactive electronic television program
                      19
                           guides allowed users to more easily navigate television program information. ʼ319
                      20
                           Patent at 1:30-32. These IPGs frequently organized the various television program
                      21
                           listings in a grid, wherein each row in the grid contains television program listings for
                      22
                           a different channel, and each column in the grid corresponds to a determined
                      23
                           broadcast time. ʼ319 Patent at 1:32-37.
                      24
                                 104. Some systems allowed for programs selected with a set-top box (STB) to
                      25
                           be recorded and stored on a videocassette recorder. While the use of a VCR provided
                      26
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                                                      COMPLAINT FOR PATENT INFRINGEMENT
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                       1    the benefits of basic recording, the functionality was very limited. ʼ319 Patent at
                       2    1:49-62.
                       3           105. Other systems that used hard disk technology to store programs were
                       4    available, but these systems suffered from the need for multiple additional hardware
                       5    to provide functionality throughout a user’s home, significantly increasing the cost of
                       6    the user’s home television equipment. ʼ319 Patent at 2:1-10.
                       7           106. Video-on-demand (VOD) systems were also available, but these systems
                       8    fell short in that they either required vast amounts of storage at the server to ensure
                       9    that all possible videos desired by users will be available or were limited to only a
                      10    subset of programs that the operator decided to record. ʼ319 Patent at 2:21-28.
                      11           107. The inventors of the ʼ319 Patent disclosed novel systems and methods
                      12    that provided an interactive program guide system that allows users to decide to
                      13    record certain programs on one device that later may be played back to the user on
              P.C.




                      14    demand from another device. These novel systems and methods allow subscribers to
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                      15    choose the content to be recorded and expand the amount of content that can be
                      16    available to subscribers on demand, while reducing costs through shared DVR
                      17    storage.
                      18                                      ʼ319 Patent Allegations
                      19           108. On information and belief after reasonable investigation, Comcast
                      20    markets the infringing functionality as “AnyRoom DVR”. 28 On information and
                      21    belief and after reasonable investigation, Comcast provides the X1 system, which
                      22    allows a user to playback a program recorded on another device using an IPG
                      23    implemented on user equipment (the ’319 Accused Products). Further, on
                      24    information and belief and after reasonable investigation, Comcast performs the
                      25
                      26   28
                                   X1 AnyRoom DVR – What It Is and How It Works, XFINITY,
                           https://www.xfinity.com/support/articles/x1-anyroom-dvr-overview (last visited Oct. 15, 2018).
                      27
                      28                                                 35

                                                        COMPLAINT FOR PATENT INFRINGEMENT
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                       1   methods claimed in the ʼ319 Patent by allowing a user to playback a program
                       2   recorded on another device using an IPG implemented on user television equipment
                       3   on the Comcast X1 system.
                       4         109. Comcast has infringed and is infringing, individually and/or jointly,
                       5   either literally or under the doctrine of equivalents, at least claims 1-3, 5-10, 12-17,
                       6   19-21, 23-25, and 27-29 of the ʼ319 Patent in violation of 35 U.S.C. §§ 271, et seq.,
                       7   directly and/or indirectly, by making, using, offering for sale, selling, offering for
                       8   lease, leasing in the United States, and/or importing into the United States without
                       9   authority or license, set-top boxes, including without limitation, one or more of the
                      10   ʼ319 Accused Products and associated software (including at least the Xfinity
                      11   branded IPG) that are used to infringe the ʼ319 Patent. Upon information and belief
                      12   after reasonable investigation, each of the ʼ319 Accused Products are designed to be
                      13   and are used with each other and Comcast’s servers to enable a user to playback a
              P.C.




                      14   recording from another device.
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                      15         110. Comcast is an active inducer of infringement of one or more claims of
                      16   the ʼ319 Patent under 35 U.S.C. § 271(b). Upon information and belief, one or more
                      17   of the ʼ319 Accused Products of Comcast directly and/or indirectly infringe (by
                      18   induced infringement) at least claims 1-3, 5-10, 12-17, 19-21, 23-25, and 27-29 of the
                      19   ʼ319 Patent, literally and/or under the doctrine of equivalents.
                      20         111. This Complaint will serve as notice to Comcast of the ʼ319 Patent and its
                      21   infringement should Comcast contend that it did not previously have knowledge
                      22   thereof.
                      23         112. Comcast intentionally encourages and aids at least service providers and
                      24   end-user subscribers to directly infringe the ʼ319 Patent.
                      25         113. Comcast provides the ʼ319 Accused Products and instructions to Xfinity
                      26   subscribers so that such subscribers will use the ʼ319 Accused Products in a directly
                      27   infringing manner. Comcast markets the Xfinity System to subscribers by touting that
                      28                                            36

                                                     COMPLAINT FOR PATENT INFRINGEMENT
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                       1    “X1 AnyRoom DVR allows you to watch recorded shows on any X1 TV Box you
                       2    have in the home.” 29 Comcast provides instructions to its subscribers on how to use
                       3    the functionality of the ʼ319 Patent on this website as well. Comcast further instructs
                       4    its subscribers how to use X1 AnyRoom DVR to watch recorded shows on any X1
                       5    TV Box they have in the home.
                       6             114. Comcast subscribers directly infringe by using the ʼ319 Accused
                       7    Products in their intended manner. Comcast induces such infringement by providing
                       8    the ʼ319 Accused Products and instructions to enable and facilitate infringement.
                       9    Upon information and belief, Comcast specifically intends that its actions will result
                      10    in infringement of the ʼ319 Patent or has taken deliberate actions to avoid learning of
                      11    infringement.
                      12             115. Additional allegations regarding Comcast’s knowledge of the ʼ319 Patent
                      13    may have evidentiary support after a reasonable opportunity for discovery.
              P.C.




                      14             116. Comcast’s infringement of the ʼ319 Patent is exceptional and entitles
MCKOOL SMITH, P C




                      15    Rovi to attorneys’ fees and costs incurred in prosecuting this action under 35 U.S.C.
                      16    § 285.
                      17             117. Rovi has been damaged by Comcast’s infringement of the ʼ319 Patent
                      18    and will continue to be damaged unless Comcast is enjoined by this Court. Rovi has
                      19    suffered and continues to suffer irreparable injury for which there is no adequate
                      20    remedy at law. The balance of hardships favors Rovi, and public interest is not
                      21    disserved by an injunction.
                      22             118. Rovi is entitled to recover from Comcast all damages that Rovi has
                      23    sustained as a result of Comcast’s infringement of the ʼ319 Patent, including without
                      24    limitation, lost profits and not less than a reasonable royalty.
                      25
                      26   29
                                   X1 AnyRoom DVR – What It Is and How It Works, XFINITY,
                           https://www.xfinity.com/support/articles/x1-anyroom-dvr-overview (last visited Oct. 15, 2018).
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                      28                                                 37

                                                        COMPLAINT FOR PATENT INFRINGEMENT
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                       1                              SECOND CLAIM FOR RELIEF
                       2                   INFRINGEMENT OF U.S. PATENT NO. 8,448,215
                       3           119. Plaintiff realleges and incorporates by reference the allegations of
                       4   paragraphs 1-118 of this Complaint.
                       5           120. The ʼ215 Patent is valid and enforceable under United States Patent
                       6   Laws.
                       7           121. Rovi Guides, Inc. owns, by assignment, all right, title, and interest in and
                       8   to the ʼ215 Patent.
                       9           122. A certified copy of the ʼ215 Patent is attached as Exhibit B.
                      10                                       The ʼ215 Patent
                      11           123. The ʼ215 Patent describes, among other things, an interactive program
                      12   guide method and system for transferring programs from one device to another in
                      13   response to receiving a user selection of a program listing and storing the program on
              P.C.




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                           the second device.
MCKOOL SMITH, P




                      15           124. As the ʼ215 Patent describes, the user may transfer a recorded program to
                      16   a secondary storage device:
                      17                The program guide may also allow the user to transfer
                      18                programs and super-programs stored on digital storage
                                        device 49 to other volumes of digital storage device 49 or to
                      19                secondary storage device 47 (FIG. 3). Secondary storage
                                        device 47 may be another storage device available in the
                      20                home network system like a videocassette recorder, a
                                        recordable digital video disc device, a computer (with an
                      21                appropriate storage device), or other digital storage device.
                                        This feature may be accessed by, for example, issuing
                      22                appropriate commands with user interface 46. If user
                                        interface 46 is a remote control such as remote control 40 of
                      23                FIG. 2, the user may use a “record” or “transfer” key when
                                        in the super-program screen, or; for example, the user may
                      24                select a “transfer” option from an on-screen list of options
                                        provided by the program guide in response to the user
                      25                selecting a super-program from directory listing screen 90.

                      26   ʼ215 Patent at 13:44-59.

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                                                      COMPLAINT FOR PATENT INFRINGEMENT
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                       1            125. The transfer of the recorded program is performed using the program
                       2   guide:
                       3                 The program guide responds to this indication by issuing
                                         appropriate instructions to digital storage device 49 to read
                       4                 the selected programs and associated data or the programs
                                         and associated data of the selected super-program sequence.
                       5                 The program guide then transfers the programs and
                                         associated data (if possible) in an appropriate format to
                       6                 secondary program data storage device 47. If, for example,
                                         secondary storage device 47 is a videocassette recorder, the
                       7                 program guide directs user television equipment 22 to
                                         convert the digitally stored program or super-program into
                       8                 an appropriate analog format.
                       9   ʼ215 Patent at 13:60-14:3.
                      10            126. The user initiates the transfer through a user input interface, such as a
                      11   touchscreen on a mobile device:
                      12                 The user controls the operation of user television equipment
                                         22 with user input interface 46. User input interface 46 may
                      13                 be a pointing device, wireless remote control, keyboard,
                                         touch-pad, voice recognition system, or any other suitable
              P.C.




                      14                 user input device. To watch television, the user instructs
MCKOOL SMITH, P C




                                         control circuitry 42 to display a desired television channel
                      15                 on monitor 45. To access the features of the program guide,
                                         the user instructs the program guide implemented on user
                      16                 television equipment 22 to generate a main menu or a
                                         desired program guide display screen for display on monitor
                      17                 45.
                      18   ʼ215 Patent at 4:52-61.
                      19            127. Figure 1 of the ʼ215 Patent is a schematic block diagram of a system in
                      20   accordance with the present invention.
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                                                      COMPLAINT FOR PATENT INFRINGEMENT
                     Case 2:19-cv-00275-AG-FFM Document 56 Filed 03/07/19 Page 41 of 87 Page ID #:1582



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                                                   Historical Context of the ʼ215 Patent
              P.C.




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MCKOOL SMITH, P C




                                 128. As detailed above, the ʼ215 Patent relates to interactive program guide
                      15
                           systems in which programs can be transferred to and stored on multiple devices.
                      16
                                 129. Over the years, cable, satellite and broadcast television providers have
                      17
                           offered a large number of television channels. Users traditionally consulted printed
                      18
                           television program schedules to determine programs being broadcast at a particular
                      19
                           time. ʼ215 Patent at 1:22-26. And at the time of the ʼ215 patent, interactive electronic
                      20
                           television program guides allowed users to navigate through television program
                      21
                           listings displayed on user televisions with remote controls. ʼ215 Patent at 1:26-31.
                      22
                           These interactive program guides often organized program listings in a program
                      23
                           listings grid, wherein each row corresponded to a different program and each column
                      24
                           corresponded to a different broadcast time. ʼ215 Patent at 1:31-41.
                      25
                                 130. Interactive television guides allowed for storage of programs selected
                      26
                           within the program guide on independent storage devices, such as videocassette
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                      28                                           40

                                                    COMPLAINT FOR PATENT INFRINGEMENT
                     Case 2:19-cv-00275-AG-FFM Document 56 Filed 03/07/19 Page 42 of 87 Page ID #:1583



                       1    recorders. ʼ215 Patent at 1:42-45. However, independent storage devices such as
                       2    videocassette recorders did not allow for the more advanced features possible with
                       3    the interactive program guide, including the ability to use the interactive program
                       4    guide to store a program on multiple storage devices. See ʼ215 Patent at 1:48-51.
                       5          131. The inventors of the ʼ215 Patent disclosed novel methods and systems
                       6    that provided the ability to transfer and store programs on multiple storage devices
                       7    using the interactive program guide.
                       8                                     ʼ215 Patent Allegations
                       9          132. On information and belief after reasonable investigation, Comcast
                      10    markets the infringing functionality as the “Download” feature available on the
                      11    Xfinity Stream App for both On Demand and Cloud DVR recordings.30 On
                      12    information and belief after reasonable investigation, Comcast provides the X1
                      13    system, which allows a user to transfer an On Demand program or recording from
              P.C.




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                            one storage device to another storage device using an IPG implemented on user
MCKOOL SMITH, P




                      15    equipment (the ʼ215 Accused Products). Further, on information and belief after
                      16    reasonable investigation, Comcast performs the methods claimed in the ʼ215 Patent
                      17    by allowing a user to transfer an On Demand program or recording from one storage
                      18    device to another storage device using an IPG implemented on user television
                      19    equipment in the Comcast X1 system.
                      20          133. Comcast has infringed and is infringing, individually and/or jointly,
                      21    either literally or under the doctrine of equivalents, at least claims 1-4, 6-8, 10, 11-14,
                      22    16-18, and 20 of the ʼ215 Patent in violation of 35 U.S.C. §§ 271, et seq., directly
                      23    and/or indirectly, by making, using, offering for sale/lease, leasing, distributing in the
                      24    United States, and/or importing into the United States without authority or license,
                      25
                           30
                      26           Download Cloud-Based DVR Recordings and Xfinity On Demand Content to Your Device,
                           XFINITY, https://www.xfinity.com/support/articles/x1-xfinity-tv-app-download-a-program (last
                      27   visited Oct. 10, 2018).

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                                                       COMPLAINT FOR PATENT INFRINGEMENT
                     Case 2:19-cv-00275-AG-FFM Document 56 Filed 03/07/19 Page 43 of 87 Page ID #:1584



                       1   set-top boxes, including without limitation, one or more of the Accused Products
                       2   (ʼ215 Accused Products) and associated software (including at least the Xfinity
                       3   branded IPG and mobile applications) that are used to infringe one or more claims of
                       4   the ʼ215 Patent. On information and belief after reasonable investigation, each of the
                       5   ʼ215 Accused Products are designed to be and are used with each other and
                       6   Comcast’s servers to enable a user to transfer an On Demand program or recording
                       7   from one storage device to another storage device.
                       8         134. Comcast has been, and currently is, an active inducer of infringement of
                       9   one or more claims of the ʼ215 Patent under 35 U.S.C. § 271(b). On information and
                      10   belief after reasonable investigation, one or more of the ʼ215 Accused Products of
                      11   Comcast directly and/or indirectly infringe (by induced infringement) one or more
                      12   claims of the ʼ215 Patent, literally and/or under the doctrine of equivalents.
                      13         135. Comcast has had actual knowledge of the ʼ215 Patent since at least
              P.C.




                      14   September 23, 2014, when Rovi provided claim charts to Comcast mapping the
MCKOOL SMITH, P C




                      15   Defendants’ products to the ʼ215 Patent.
                      16         136. Rovi again provided Comcast notice of the ʼ215 Patent by identifying the
                      17   ʼ215 Patent in a list of Rovi patents sent to Comcast in April 2015.
                      18         137. This Complaint will serve as notice to Comcast of the ʼ215 Patent and its
                      19   infringement should Comcast contend that it did not previously have knowledge
                      20   thereof.
                      21         138. Comcast intentionally encourages and aids at least service providers and
                      22   end-user subscribers to directly infringe the ʼ215 Patent.
                      23         139. Comcast provides the ʼ215 Accused Products and instructions to Xfinity
                      24   subscribers so that subscribers will use the ʼ215 Accused Products in a directly
                      25   infringing manner. Comcast markets the Xfinity System to subscribers by touting that
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                                                    COMPLAINT FOR PATENT INFRINGEMENT
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                       1    subscribers can “download your favorites to watch anywhere, even if you’re offline.
                       2    It’s all included with any Xfinity TV package.”31 Comcast provides instructions to its
                       3    subscribers on how to use the functionality of the ʼ215 Patent and states that
                       4    subscribers can “[l]earn how to download cloud-based DVR recordings and available
                       5    Xfinity On Demand content to your Apple or Android device. We'll show you how to
                       6    download and check in recordings and On Demand programs using the Apple version
                       7    of the mobile app. The procedures are essentially the same for the Android mobile
                       8    app, but the steps or screens may be slightly different.”32
                       9             140. Comcast subscribers directly infringe by using the ʼ215 Accused
                      10    Products in their intended manner. Comcast induces such infringement by providing
                      11    the ʼ215 Accused Products and instructions to enable and facilitate infringement. On
                      12    information and belief, Comcast specifically intend that its actions will result in
                      13    infringement of the ʼ215 Patent or has taken deliberate actions to avoid learning of
              P.C.




                      14    infringement.
MCKOOL SMITH, P C




                      15             141. Additional allegations regarding Comcast’s knowledge of the ʼ215 Patent
                      16    and willful infringement will likely have evidentiary support after a reasonable
                      17    opportunity for discovery.
                      18             142. Comcast’s infringement of the ʼ215 Patent is willful and deliberate,
                      19    entitling Rovi to enhanced damages and attorneys’ fees.
                      20             143. Comcast’s infringement of the ʼ215 Patent is exceptional and entitles
                      21    Rovi to attorneys’ fees and costs incurred in prosecuting this action under 35 U.S.C.
                      22    § 285.
                      23
                      24
                           31
                                   Our Best Streaming Experience, XFINITY, https://www.xfinity.com/get-stream (last visited
                      25   Oct. 10, 2018).
                           32
                      26           Download Cloud-Based DVR Recordings and Xfinity On Demand Content to Your Device,
                           XFINITY, https://www.xfinity.com/support/articles/x1-xfinity-tv-app-download-a-program (last
                      27   visited Oct. 10, 2018).

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                                                        COMPLAINT FOR PATENT INFRINGEMENT
                     Case 2:19-cv-00275-AG-FFM Document 56 Filed 03/07/19 Page 45 of 87 Page ID #:1586



                       1           144. Rovi has been damaged by Comcast’s infringement of the ʼ215 Patent
                       2   and will continue to be damaged unless Comcast is enjoined by this Court. Rovi has
                       3   suffered and continues to suffer irreparable injury for which there is no adequate
                       4   remedy at law. The balance of hardships favors Rovi, and public interest is not
                       5   disserved by an injunction.
                       6           145. Rovi is entitled to recover from Comcast all damages that Rovi has
                       7   sustained as a result of Comcast’s infringement of the ʼ215 Patent, including without
                       8   limitation, lost profits and not less than a reasonable royalty.
                       9
                                                       THIRD CLAIM FOR RELIEF
                      10
                                            INFRINGEMENT OF U.S. PATENT NO. 8,973,069
                      11
                      12           146. Plaintiff realleges and incorporates by reference the allegations of

                      13   paragraphs 1-145 of this Complaint.
                                   147. The ’069 Patent is valid and enforceable under United States Patent
              P.C.




                      14
MCKOOL SMITH, P C




                      15   Laws.

                      16           148. Rovi Guides, Inc. owns, by assignment, all right, title, and interest in and

                      17   to the ’069 Patent.

                      18           149. A certified copy of the ’069 Patent is attached as Exhibit C.
                                                               The ʼ069 Patent
                      19
                      20           150. The ʼ069 Patent describes, among other things, an interactive method and

                      21   system for pausing media content displayed on a first user equipment device, storing

                      22   position information indicative of the pause point, receiving an indication at a second

                      23   user equipment device to view the media content, and presenting options to a user

                      24   that are determinative of the viewing point from which the media content is displayed

                      25   on the second user equipment device. The specification of the ʼ069 Patent refers to

                      26   this functionality as “relocate.” E.g., ʼ069 Patent at 10:27-39.

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                                                     COMPLAINT FOR PATENT INFRINGEMENT
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                       1         151. As the ʼ069 Patent describes, the relocate feature allows a user to pause a
                       2   program and resume from another location:
                       3              A relocate feature may be included in the on-demand media
                                      system. This relocate feature may allow a user to freeze
                       4              media-on demand content being presented on one user
                                      equipment and switch to some other user equipment to
                       5              resume the presentation of the media on-demand content
                                      (i.e., resume from the point at which the user had frozen the
                       6              content). The user equipment may be equipment such as
                                      user equipment 260 and 265 of FIG. 2. If the user wants to
                       7              continue watching the on-demand media content at a friends
                                      house (e.g., user equipment system 265 of FIG. 2), the user
                       8              may only have to use the relocate feature to freeze the on-
                                      demand media content and relocate to the friend's house to
                       9              resume the on-demand media content.
                      10   ʼ069 Patent at 10:27-39.
                      11         152. The relocate feature may be implemented using a server to pause and
                      12   resume the program:
                      13              When the relocate feature is first selected by a user, remote
                                      server network 110 of FIG. 1 may, for example, pause the
              P.C.




                      14              on-demand media content being viewed by the user and
MCKOOL SMITH, P C




                                      store a content location reference to an appropriate user-
                      15              specific account. After the user switches to a different
                                      location and requests that the paused content be
                      16              appropriately delivered, remote server network 110 may
                                      retrieve the appropriate content location reference and
                      17              continue delivering the media content from the point at
                                      which the user paused the content. Before the media content
                      18              may be delivered, the remote server network may require
                                      that the user be identified so that the appropriate user-
                      19              specific data and/or a user-specific account information,
                                      may be located and accessed.
                      20
                           ʼ069 Patent at 11:10-22.
                      21
                                 153. The server saves the position information for the program to identify
                      22
                           where the program was paused:
                      23
                                      The on-demand media system may then save the user’s
                      24              current position (step 763) when the user selects the relocate
                                      feature. Saving the current position may involve, for
                      25              example, saving a pointer that identifies where the media
                                      content was ‘frozen’ or paused by the relocate feature. If the
                      26              user was identified in step 771, process 760 may store any
                                      data relevant to the operation of the relocate feature in
                      27              storage space associated with the user. If desired, saving the
                                      current position may involve recording the media content
                      28                                          45

                                                      COMPLAINT FOR PATENT INFRINGEMENT
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                       1               from the point at which the relocate feature was chosen. At
                                       step 764, process 760 may enter an idle mode until a user
                       2               selects to resume reception. Step 764 may include step 772
                                       for identifying the current user (e.g., identifying a current
                       3               user on a second user equipment). Step 772 may be
                                       performed when a user selects to resume media using the
                       4               relocate feature. At step 772, the system may provide a
                                       current user with the ability to log into the on-demand media
                       5               system, which may include prompting the user for an
                                       identification and/or password. If desired, step 772 may be
                       6               performed before the current user selects to resume media
                                       using the relocate feature.
                       7
                           ʼ069 Patent at 11:51-12:3.
                       8
                                 154. The ʼ069 Patent provides an exemplary relocation display screen for
                       9
                           resuming the paused program:
                      10
                                       FIG. 7B shows illustrative relocation display screen 750 that
                      11               may be displayed when a command from remote control 300
                                       of FIG. 3 is selected or when an appropriate option on an on-
                      12               demand media display screen is selected to resume on-
                                       demand media that was frozen earlier by the user, Option
                      13               740 may be selected if a user wants to start to view the
                                       media from the frozen point on user equipment that is
              P.C.




                      14               different (e.g., different household, different subscriber site,
MCKOOL SMITH, P C




                                       different room, different equipment platform, etc.) than that
                      15               which was used to freeze the media.
                      16
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                           ʼ069 Patent at 10:54-63.
                      24
                      25         155. The system allows the program to be presented from the pause point at a

                      26   different location using different equipment:
                                       When a user selects continue option 740, the media may be
                      27               presented on the current user equipment starting from the
                                       frozen point. If desired, media may be queued to the frozen
                      28                                           46

                                                      COMPLAINT FOR PATENT INFRINGEMENT
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                       1               point for presentation to a user when a user who had
                                       previously selected a freeze (or relocated) option logs into
                       2               the system. Also, if desired, the media may be queued
                                       selectively upon user request (e.g., user selects a resume
                       3               from frozen point option). If the user has not previously
                                       logged in or otherwise been identified, the user may be
                       4               asked to log in or asked to provide identification information
                                       when making a resume request. The system may also allow
                       5               the user to select from multiple programs which may have
                                       been previously frozen by the user.
                       6
                           ʼ069 Patent at 10:64-11:9.
                       7
                                                   Historical Context of the ʼ069 Patent
                       8
                                 156. At the time of the ʼ069 Patent, set-top boxes received on-demand video
                       9
                           from cable system headends, and set-top boxes could communicate that on-demand
                      10
                           video to local devices such as television sets. However, these systems were deficient
                      11
                           in that they did not allow users to continue watching on-demand programs from a
                      12
                           different location (e.g., another room). ʼ069 Patent at 1:25-35.
                      13
                                 157. Also at the time of the ʼ069 Patent, systems used recording technology,
              P.C.




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MCKOOL SMITH, P C




                           such as hard disk technology, to store videos of programs locally. However, these
                      15
                           systems were deficient in that they did not allow users continued access to recorded
                      16
                           materials from another location (e.g., another room). ʼ069 Patent at 1:36-46.
                      17
                                 158. Systems existed that included a return path from a user’s set-top box to a
                      18
                           cable system headend. This allowed for client-server-based program guides that used
                      19
                           two-way communication between cable system headends and set-top boxes. Some of
                      20
                           these client-server television program guides recorded programs on a remote server.
                      21
                           However, these arrangements were still deficient in providing mobility features that
                      22
                           would allow users to relocate and still access programming.
                      23
                                 159. The inventors of the ʼ069 Patent disclosed novel interactive media guide
                      24
                           methods and systems that allowed users to begin watching media content on one user
                      25
                           equipment device and thereafter display the same media content on a second user
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                                                    COMPLAINT FOR PATENT INFRINGEMENT
                     Case 2:19-cv-00275-AG-FFM Document 56 Filed 03/07/19 Page 49 of 87 Page ID #:1590



                       1    equipment device with options as to the viewing point at which to resume the media
                       2    content.
                       3                                       ʼ069 Patent Allegations
                       4           160. On information and belief after reasonable investigation, Comcast
                       5    markets this infringing functionality as “AnyRoom DVR” 33 and “Xfinity Stream.” 34
                       6    On information and belief after reasonable investigation, Comcast provides the X1
                       7    system, which allows a user to pause media content on one device and continue
                       8    watching the media content on another device using an interactive program guide
                       9    implemented at least in part on user equipment (the ʼ069 Accused Products). Further,
                      10    on information and belief after reasonable investigation, Comcast performs the
                      11    methods claimed in the ʼ069 Patent by allowing a user to pause media content on one
                      12    device and continue watching the media content on another device using an
                      13    interactive program guide implemented on user television equipment in the X1
              P.C.




                      14    system.
MCKOOL SMITH, P C




                      15           161. Comcast has infringed and is infringing, individually and/or jointly,
                      16    either literally or under the doctrine of equivalents, at least claims 1-3, 9, 11-13, and
                      17    19 of the ʼ069 Patent in violation of 35 U.S.C. §§ 271, et seq., directly and/or
                      18    indirectly, by making, using, offering for lease, leasing, distributing in the United
                      19    States, and/or importing into the United States without authority or license, set-top
                      20    boxes, including without limitation, one or more of the ʼ069 Accused Products and
                      21    associated software (including at least the Xfinity branded IPG) that are used to
                      22    infringe the ’069 Patent. On information and belief after reasonable investigation, the
                      23
                      24   33
                                   X1 AnyRoom DVR – What it is and How it Works, XFINITY,
                      25   https://www.xfinity.com/support/articles/x1-anyroom-dvr-overview (last visited Oct. 11, 2018).
                           34
                                   Xfinity Stream TV App, XFINITY, https://www.xfinity.com/get-stream (last visited Oct. 11,
                      26   2018).
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                                                        COMPLAINT FOR PATENT INFRINGEMENT
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                       1    ʼ069 Accused Products are designed to be and are used with each other and
                       2    Comcast’s servers to enable a user to pause media content on a first user equipment
                       3    device and resume the media content on a second device. On information and belief
                       4    after reasonable investigation, Comcast markets this infringing functionality as
                       5    “AnyRoom DVR” 35 and “Xfinity Stream.” 36 On information and belief after
                       6    reasonable investigation, Comcast provides the ʼ069 Accused Products, which allow
                       7    a user to pause media content on one device and continue watching the media content
                       8    on another device using an interactive program guide implemented at least in part on
                       9    user equipment devices. Further, on information and belief after reasonable
                      10    investigation, Comcast performs the methods claimed in the ʼ069 Patent by allowing
                      11    a user to pause media content on one device and continue watching the media content
                      12    on another device using an interactive program guide implemented on user
                      13    equipment devices in the X1 system.
              P.C.




                      14           162. Comcast is an active inducer of infringement of one or more claims of
MCKOOL SMITH, P C




                      15    the ʼ069 Patent under 35 U.S.C. § 271(b). On information and belief after reasonable
                      16    investigation, one or more of the ʼ069 Accused Products of Comcast directly and/or
                      17    indirectly infringe (by induced infringement) one or more claims of the ʼ069 Patent,
                      18    literally and/or under the doctrine of equivalents.
                      19           163. This Complaint will serve as notice to Comcast of the ʼ069 Patent and its
                      20    infringement should Comcast contend that it did not previously have knowledge
                      21    thereof.
                      22
                      23
                      24   35
                                   X1 AnyRoom DVR – What it is and How it Works, XFINITY,
                      25   https://www.xfinity.com/support/articles/x1-anyroom-dvr-overview (last visited Oct. 11, 2018).
                           36
                                   Xfinity Stream TV App, XFINITY, https://www.xfinity.com/get-stream (last visited Oct. 11,
                      26   2018).
                      27
                      28                                                  49

                                                        COMPLAINT FOR PATENT INFRINGEMENT
                     Case 2:19-cv-00275-AG-FFM Document 56 Filed 03/07/19 Page 51 of 87 Page ID #:1592



                       1             164. Comcast intentionally encourages and aids at least service providers and
                       2    end-user subscribers to directly infringe the ʼ069 Patent.
                       3             165. Comcast provides the ʼ069 Accused Products and instructions to Xfinity
                       4    subscribers so that such subscribers will use the ʼ069 Accused Products in a directly
                       5    infringing manner. Comcast markets the Xfinity System to subscribers by touting the
                       6    ability to “[b]egin a recorded show on your TV and resume watching it on another
                       7    TV” 37 and the ability to “[g]et the entertainment you love anywhere, on any
                       8    device.” 38 Comcast provides instructions to its subscribers on how to use the
                       9    functionality of the ʼ069 Patent on these websites.
                      10             166. Comcast subscribers directly infringe by using the ʼ069 Accused
                      11    Products in their intended manner. Comcast induces such infringement by providing
                      12    the ʼ069 Accused Products and instructions to enable and facilitate infringement. On
                      13    information and belief after reasonable investigation, Comcast specifically intends
              P.C.




                      14    that its actions will result in infringement of the ʼ069 Patent or has taken deliberate
MCKOOL SMITH, P C




                      15    actions to avoid learning of infringement.
                      16             167. Additional allegations regarding Comcast’s knowledge of the ʼ069 Patent
                      17    may have evidentiary support after a reasonable opportunity for discovery.
                      18             168. Comcast’s infringement of the ʼ069 Patent is exceptional and entitles
                      19    Rovi to attorneys’ fees and costs incurred in prosecuting this action under 35 U.S.C.
                      20    § 285.
                      21             169. Rovi has been damaged by Comcast’s infringement of the ʼ069 Patent
                      22    and will continue to be damaged unless Comcast is enjoined by this Court. Rovi has
                      23    suffered and continues to suffer irreparable injury for which there is no adequate
                      24
                      25   37
                                   X1 AnyRoom DVR – What it is and How it Works, XFINITY,
                           https://www.xfinity.com/support/articles/x1-anyroom-dvr-overview (last visited Oct. 11, 2018).
                      26   38
                                   Xfinity Stream TV App, XFINITY, https://www.xfinity.com/get-stream (last visited Oct. 11,
                      27   2018).

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                                                        COMPLAINT FOR PATENT INFRINGEMENT
                     Case 2:19-cv-00275-AG-FFM Document 56 Filed 03/07/19 Page 52 of 87 Page ID #:1593



                       1   remedy at law. The balance of hardships favors Rovi, and public interest is not
                       2   disserved by an injunction.
                       3           170. Rovi is entitled to recover from Comcast all damages that Rovi has
                       4   sustained as a result of Comcast’s infringement of the ʼ069 Patent, including without
                       5   limitation, lost profits and not less than a reasonable royalty.
                       6
                                                      FOURTH CLAIM FOR RELIEF
                       7
                                            INFRINGEMENT OF U.S. PATENT NO. 7,873,978
                       8
                       9           171. Plaintiff realleges and incorporates by reference the allegations of

                      10   paragraphs 1-170 of this Complaint.

                      11           172. The ʼ978 Patent is valid and enforceable under United States Patent

                      12   Laws.

                      13           173. Rovi Guides, Inc. owns, by assignment, all right, title, and interest in and
                           to the ʼ978 Patent.
              P.C.




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MCKOOL SMITH, P C




                      15           174. A certified copy of the ʼ978 Patent is attached as Exhibit D.

                      16                                       The ʼ978 Patent

                      17           175. The ʼ978 Patent describes, among other things, an interactive television

                      18   program guide system in which television programs are recorded and retrieved on-

                      19   demand and stored for later playback for a number of users. The patent discloses

                      20   generating a record request with an interactive program guide for a user, recording a

                      21   program with a remote media server in response to the record request, generating a

                      22   retrieval request with an interactive program guide for a user, retrieving the program

                      23   with the remote media server, and storing the retrieved program for later playback.

                      24           176. As the ʼ978 Patent describes, an interactive program guide may be used

                      25   to record and playback programs using a server:

                      26                Programs and program guide data may be recorded and
                                        played back on-demand by remote media server 24 in
                      27                response to record and playback requests. Record and
                                        playback requests may be generated by a program guide
                      28                                             51

                                                     COMPLAINT FOR PATENT INFRINGEMENT
                     Case 2:19-cv-00275-AG-FFM Document 56 Filed 03/07/19 Page 53 of 87 Page ID #:1594



                       1                server application or web application implemented on
                                        Internet service system 235. Record and playback requests
                       2                may also be generated by an interactive program guide client
                                        implemented on personal computer 231 and may be
                       3                provided to remote media server 24 by Internet service
                                        system 235. Programs and program guide data may be
                       4                provided by Internet service system 235 to personal
                                        computer 231 using a suitable real-time Internet video
                       5                approach (e.g., using the M-Bone), or may be downloaded
                                        and stored by personal computer 231 for playback.
                       6
                           ʼ978 Patent at 8:40-53.
                       7
                                 177. The server may also record data associated with the program selected for
                       8
                           recording:
                       9
                                        Remote media server 24 of FIGS. 2a, 2b, 2c, 2d, and 2e
                      10                records programs, program guide data, or any suitable
                                        combination thereof and supplies either or both to user
                      11                television equipment 22 in response to requests generated by
                                        the program guide. Remote media server 24 may also record
                      12                program associated data, such as data carried in the vertical
                                        blanking interval (VBI) of an analog television channel or in
                      13                a digital data track on a digital television channel. Examples
                                        of program associated data are subtitles, text tracks, music
              P.C.




                      14                information tracks, additional video formats, additional
MCKOOL SMITH, P C




                                        languages, or other additional data. As used herein,
                      15                recording and playing back “programming” or “programs”
                                        may include, but does not require, recording and playing
                      16                back program associated data. Remote media server 24 is
                                        shown as being located at program guide distribution facility
                      17                16, but may be located at a separate distribution facility
                                        (e.g., a cable system headend, a broadcast distribution
                      18                facility, a satellite television distribution facility, or any
                                        other suitable type of television distribution facility).
                      19
                           ʼ978 Patent at 8:54-9:5.
                      20
                                 178. Figure 2e of the ʼ978 Patent is an exemplary schematic diagram of an
                      21
                           equipment environment in which a preferred embodiment of the interactive program
                      22
                           guide system of the ʼ978 Patent can operate.
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                                                      COMPLAINT FOR PATENT INFRINGEMENT
                     Case 2:19-cv-00275-AG-FFM Document 56 Filed 03/07/19 Page 54 of 87 Page ID #:1595



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              P.C.




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MCKOOL SMITH, P C




                      15
                                 179. In response to a retrieval request generated by an interactive program
                      16
                           guide, the server may retrieve recorded programs from storage on demand for later
                      17
                           playback:
                      18
                                       Remote media server 24 retrieves programs from storage 15
                      19               in response to retrieval requests generated by the program
                                       guides implemented on interactive program guide television
                      20               equipment 17. Processing circuitry 11 may process the
                                       requests by searching a user's user directory 59 for the
                      21               requested programs and then issuing a suitable retrieval
                                       command (or request) to storage 15 based on the pointer in
                      22               the directory. For example, when user 1 requests the playing
                                       of PROGRAM 1, processing circuitry 11 issues an
                      23               appropriate retrieval command to optical storage tower 53.
                                       The program is retrieved from media store 63 and may be
                      24               passed to memory 13 (e.g., via DMA circuitry in processing
                                       circuitry 11) for decoding by processing circuitry 11 and
                      25               distribution to user television equipment 22. If desired,
                                       processing circuitry may pass a requested program in its
                      26               digital form to distribution equipment 21 for distribution to
                                       user television equipment 22.
                      27
                           ʼ978 Patent at 11:65-12:14.
                      28                                          53

                                                   COMPLAINT FOR PATENT INFRINGEMENT
                     Case 2:19-cv-00275-AG-FFM Document 56 Filed 03/07/19 Page 55 of 87 Page ID #:1596



                       1                            Historical Context of the ʼ978 Patent
                       2         180. Cable, satellite, and broadcast television providers offer a large number
                       3   of television channels. In the past, viewers had to consult printed television program
                       4   schedules to determine which programs were being broadcast at particular times.
                       5   ʼ978 Patent at 1:20-24. In the years leading up to the ʼ978 Patent, interactive
                       6   electronic television program guides allowed users to more easily navigate television
                       7   program information with the use of a remote control. ʼ978 Patent at 1:24-28. These
                       8   interactive television program guides typically organized the various television
                       9   program listings in a list, grid, or table. ʼ978 Patent at 1:28-31.
                      10         181. Some systems allowed for programs selected with a STB to be recorded
                      11   and stored on a videocassette recorder (VCR). While the use of a VCR provided the
                      12   benefits of basic recording, the functionality was very limited. ʼ978 Patent at 1:32-61.
                      13         182. Other systems that used hard disk technology to store programs were
              P.C.




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                           available, but these systems suffered from the need for multiple additional hardware
MCKOOL SMITH, P




                      15   to provide functionality throughout a user’s home, significantly increasing the cost of
                      16   the user’s home television equipment. ʼ978 Patent at 1:62-2:6.
                      17         183. Video-on-demand (VOD) systems were also available, but these systems
                      18   fell short in that they either required vast amounts of storage at the server to ensure
                      19   that all possible videos desired by users will be available or were limited to only a
                      20   subset of programs that the operator decided to record. ʼ978 Patent at 2:15-23.
                      21         184. The inventors of the ʼ978 Patent disclosed novel systems and methods
                      22   that provided an interactive television program guide system in which television
                      23   programs are recorded and retrieved on-demand and stored for later playback for a
                      24   number of users.
                      25                                   ʼ978 Patent Allegations
                      26         185. On information and belief after reasonable investigation, Comcast
                      27   markets the infringing functionality as the “Download” feature available on the
                      28                                             54

                                                     COMPLAINT FOR PATENT INFRINGEMENT
                     Case 2:19-cv-00275-AG-FFM Document 56 Filed 03/07/19 Page 56 of 87 Page ID #:1597



                       1    Xfinity Stream App for both On Demand and Cloud DVR recordings.39 On
                       2    information and belief after reasonable investigation, Comcast provides the X1
                       3    system, which allow subscribers to request to record programs at remote servers and
                       4    request to retrieve the recorded programs for storage and later playback using an IPG
                       5    implemented on user television equipment (the ʼ978 Accused Products). Further, on
                       6    information and belief after reasonable investigation, Comcast performs the methods
                       7    claimed in the ʼ978 Patent by allowing a user to record programs at remote servers
                       8    and retrieve the recorded programs for storage and later playback.
                       9          186. Comcast has infringed and is infringing, individually and/or jointly,
                      10    either literally or under the doctrine of equivalents, claims 1-8 of the ʼ978 Patent in
                      11    violation of 35 U.S.C. §§ 271, et seq., directly and/or indirectly, by making, using,
                      12    offering for lease, leasing, distributing in the United States, and/or importing into the
                      13    United States without authority or license, set-top boxes, including without
              P.C.




                      14    limitation, one or more of the ʼ978 Accused Products that infringe claims 1-8 of the
MCKOOL SMITH, P C




                      15    ʼ978 Patent. On information and belief after reasonable investigation, each of the
                      16    ʼ978 Accused Products are designed to be and are used with each other and
                      17    Comcast’s servers to record programs at remote servers and retrieve the recorded
                      18    programs for storage and later playback in response to user requests with an
                      19    interactive program guide.
                      20          187. Comcast has been, and currently is, an active inducer of infringement of
                      21    claims 1-8 of the ʼ978 Patent under 35 U.S.C. § 271(b). On information and belief
                      22    after reasonable investigation, one or more of the ʼ978 Accused Products of the
                      23    Comcast directly and/or indirectly infringes (by induced infringement) claims 1-8 of
                      24    the ʼ978 Patent, literally and/or under the doctrine of equivalents.
                      25
                           39
                      26           Download Cloud-Based DVR Recordings and Xfinity On Demand Content to Your Device,
                           XFINITY, https://www.xfinity.com/support/articles/x1-xfinity-tv-app-download-a-program (last
                      27   visited Oct. 10, 2018).

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                                                       COMPLAINT FOR PATENT INFRINGEMENT
                     Case 2:19-cv-00275-AG-FFM Document 56 Filed 03/07/19 Page 57 of 87 Page ID #:1598



                       1          188. Comcast has had actual knowledge of the ʼ978 Patent since at least
                       2    September 23, 2014, when Rovi provided a claim chart of the ʼ978 Patent mapping
                       3    Comcast’s infringing functionality to the claims of the ʼ978 Patent.
                       4          189. Rovi again provided Comcast notice of the ʼ978 Patent by identifying the
                       5    ʼ978 Patent in a list of Rovi patents sent to Comcast in April 2015.
                       6          190. This Complaint will serve as notice to Comcast of the ʼ978 Patent and its
                       7    infringement should Comcast contend that it did not previously have knowledge
                       8    thereof.
                       9          191. Comcast intentionally encourages and aids at least service providers and
                      10    end-user subscribers to directly infringe the ʼ978 Patent.
                      11          192. Comcast provides the ʼ978 Accused Products and instructions to Xfinity
                      12    subscribers so that such subscribers will use the ʼ978 Accused Products in a directly
                      13    infringing manner. Comcast markets the Xfinity System to subscribers and provides
              P.C.




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                            instructions to its subscribers on how to “download cloud-based DVR recordings and
MCKOOL SMITH, P




                      15    available Xfinity On Demand content” to devices for later playback.40
                      16          193. Comcast subscribers directly infringe by using the ʼ978 Accused
                      17    Products in their intended manner. Comcast induces such infringement by providing
                      18    the ʼ978 Accused Products and instructions to enable and facilitate infringement. Id.
                      19    On information and belief after reasonable investigation, Comcast specifically
                      20    intends that its actions will result in infringement of the ʼ978 Patent or has taken
                      21    deliberate actions to avoid learning of infringement.
                      22          194. Additional allegations regarding Comcast’s knowledge of the ʼ978 Patent
                      23    and willful infringement will likely have evidentiary support after a reasonable
                      24    opportunity for discovery.
                      25
                           40
                      26           Download Cloud-Based DVR Recordings and Xfinity On Demand Content to Your Device,
                           XFINITY, https://www.xfinity.com/support/articles/x1-xfinity-tv-app-download-a-program (last
                      27   visited Oct. 11, 2018).

                      28                                               56

                                                       COMPLAINT FOR PATENT INFRINGEMENT
                     Case 2:19-cv-00275-AG-FFM Document 56 Filed 03/07/19 Page 58 of 87 Page ID #:1599



                       1            195. Comcast’s infringement of the ʼ978 Patent is willful and deliberate,
                       2   entitling Rovi to enhanced damages and attorneys’ fees.
                       3            196. Comcast’s infringement of the ʼ978 Patent is exceptional and entitles
                       4   Rovi to attorneys’ fees and costs incurred in prosecuting this action under 35 U.S.C.
                       5   § 285.
                       6            197. Rovi has been damaged by Comcast’s infringement of the ʼ978 Patent
                       7   and will continue to be damaged unless Comcast is enjoined by this Court. Rovi has
                       8   suffered and continues to suffer irreparable injury for which there is no adequate
                       9   remedy at law. The balance of hardships favors Rovi, and public interest is not
                      10   disserved by an injunction.
                      11            198. Rovi is entitled to recover from Comcast all damages that Rovi has
                      12   sustained as a result of Comcast’s infringement of the ʼ978 Patent, including without
                      13   limitation, lost profits and not less than a reasonable royalty.
              P.C.




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MCKOOL SMITH, P C




                                                        FIFTH CLAIM FOR RELIEF
                      15
                                             INFRINGEMENT OF U.S. PATENT NO. 9,232,254
                      16
                      17            199. Plaintiff realleges and incorporates by reference the allegations of

                      18   paragraphs 1- 198 of this Complaint.

                      19            200. The ʼ254 Patent is valid and enforceable under United States Patent

                      20   Laws.

                      21            201. Rovi Guides, Inc. owns, by assignment, all right, title, and interest in and

                      22   to the ʼ254 Patent.

                      23            202. A certified copy of the ʼ254 Patent is attached as Exhibit E.

                      24                                        The ʼ254 Patent

                      25            203. The ʼ254 Patent describes, among other things, a method and system of

                      26   providing users with access to respective directories of recorded programs recorded

                      27   at a remote server using a program guide. The ʼ254 Patent discloses receiving a

                      28                                              57

                                                      COMPLAINT FOR PATENT INFRINGEMENT
                     Case 2:19-cv-00275-AG-FFM Document 56 Filed 03/07/19 Page 59 of 87 Page ID #:1600



                       1   program at a remote server from a broadcast source, recording the program on the
                       2   remote server in response to a request from a user equipment on a network different
                       3   than that of the remote server, and maintaining and enabling access to respective user
                       4   directories for each user of a plurality of user equipment.
                       5         204. As the ʼ254 Patent describes, an interactive program guide may be used
                       6   to record and playback programs using a server:
                       7                Programs and program guide data may be recorded and
                                        played back on-demand by remote media server 24 in
                       8                response to record and playback requests. Record and
                                        playback requests may be generated by a program guide
                       9                server application or web application implemented on
                                        Internet service system 235. Record and playback requests
                      10                may also be generated by an interactive program guide client
                                        implemented on personal computer 231 and may be
                      11                provided to remote media server 24 by Internet service
                                        system 235. Programs and program guide data may be
                      12                provided by Internet service system 235 to personal
                                        computer 231 using a suitable real-time Internet video
                      13                approach (e.g., using the M-Bone), or may be downloaded
                                        and stored by personal computer 231 for playback.
              P.C.




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MCKOOL SMITH, P C




                           ʼ254 Patent at 8:47-60.
                      15
                                 205. The server may also record data associated with the program selected for
                      16
                           recording:
                      17
                                        Remote media server 24 of FIGS. 2 a, 2 b, 2 c, 2 d, and 2 e
                      18                records programs, program guide data, or any suitable
                                        combination thereof and supplies either or both to user
                      19                television equipment 22 in response to requests generated by
                                        the program guide. Remote media server 24 may also record
                      20                program associated data, such as data carried in the vertical
                                        blanking interval (VBI) of an analog television channel or in
                      21                a digital data track on a digital television channel. Examples
                                        of program associated data are subtitles, text tracks, music
                      22                information tracks, additional video formats, additional
                                        languages, or other additional data. As used herein,
                      23                recording and playing back “programming” or “programs”
                                        may include, but does not require, recording and playing
                      24                back program associated data.
                      25   ʼ254 Patent at 8:61-9:7.
                      26         206. The user can access the directory of recorded programs in a number of
                      27   ways and the system may use an overlay to display the directory:
                      28                                            58

                                                      COMPLAINT FOR PATENT INFRINGEMENT
                     Case 2:19-cv-00275-AG-FFM Document 56 Filed 03/07/19 Page 60 of 87 Page ID #:1601



                       1                The program guide may provide the user with the
                                        opportunity to access a directory or other such list of
                       2                programs that have been recorded for the user on remote
                                        media server 24 or local media server 29. The user may
                       3                indicate a desire to access a directory or list of recorded
                                        programs by, for example, pressing a “DIR” key on remote
                       4                control 40 or selecting a “Directory” feature from main
                                        menu 107. FIGS. 18 a and 18 b show illustrative overlays
                       5                320 that may be displayed by the program guide when the
                                        user indicates a desire to view a directory of the programs
                       6                that the user has recorded on remote media server 24 or local
                                        media server 29. FIG. 18 a shows overlay 320 overlaid on
                       7                top of the video of the channel that the viewer is watching.
                                        FIG. 18 b shows overlay 32 overlaid on top of a program
                       8                listings screen. Overlay 320 may display any information
                                        related to the programming that the user has selected for
                       9                recording by remote media server 24 or local media server
                                        29. Overlay 320 may display, for example, the channels and
                      10                titles of the recorded programs, the dates and times they are
                                        recorded, or any other suitable information.
                      11
                           ʼ254 Patent at 22:45-63.
                      12
                                 207. The ʼ254 Patent describes an illustrative directory screen for the directory
                      13
                           of recorded programs:
              P.C.




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MCKOOL SMITH, P C




                                        FIG. 18 d shows an illustrative directory screen 350 that
                      15                may be displayed by the program guide when the user
                                        indicates a desire to view a directory of the programs that
                      16                the user has recorded on remote media server 24 or local
                                        media server 29. Directory screen 350 may display program-
                      17                related information like that displayed by overlay 320.
                                        Directory screen 350 may also include other program guide
                      18                display screen elements, such as selectable advertisements,
                                        service provider logos, brand logos, advertisement banners,
                      19                etc. If desired, directory screen 350 may be displayed as an
                                        overlay and any of the overlays described herein may be
                      20                presented as display screens. Such display screens may be
                                        either full screen display screens or partial screen display
                      21                screens. Partial screen display screens may contain a
                                        reduced-size video window (e.g., for displaying the current
                      22                television channel).
                      23   ʼ254 at 23:11-25.
                      24         208. The ʼ254 Patent provides the illustrative directory screen that may be
                      25   displayed:
                      26                FIG. 18 d shows an illustrative directory screen that may be
                                        displayed by the program guide when a user indicates a
                      27                desire to access a directory of programs recorded for a user
                                        on the remote media server of FIGS. 2 a-2 e or the local
                      28                                            59

                                                      COMPLAINT FOR PATENT INFRINGEMENT
                     Case 2:19-cv-00275-AG-FFM Document 56 Filed 03/07/19 Page 61 of 87 Page ID #:1602



                       1               media server of FIG. 7.
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MCKOOL SMITH, P C




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                      17
                                                   Historical Context of the ʼ254 Patent
                      18
                                 209. Cable, satellite, and broadcast television providers offer viewers a large
                      19
                           number of television channels. At the time of the ʼ254 Patent, viewers had to consult
                      20
                           printed television program schedules to determine which programs were being
                      21
                           broadcast at particular times. ʼ254 Patent at 1:24-28. Also at the time of the ʼ254
                      22
                           Patent, interactive electronic television program guides allowed users to more easily
                      23
                           navigate television program information with the use of a remote control. ʼ254 Patent
                      24
                           at 1:30-32. These interactive television program guides typically organized the
                      25
                           various television program listings in a list, grid, or table. ʼ254 Patent at 1:32-35.
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                                                     COMPLAINT FOR PATENT INFRINGEMENT
                     Case 2:19-cv-00275-AG-FFM Document 56 Filed 03/07/19 Page 62 of 87 Page ID #:1603



                       1          210. Some systems allowed for programs selected with a STB to be recorded
                       2    and stored on a VCR. While the use of a VCR provided the benefits of basic
                       3    recording, the functionality was very limited. ʼ254 Patent at 1:36-65.
                       4          211. Other systems that used hard disk technology to store programs were
                       5    available, but these systems suffered from the need for multiple additional hardware
                       6    to provide functionality throughout a user’s home, significantly increasing the cost of
                       7    the user’s home television equipment. ʼ254 Patent at 1:66-2:10.
                       8          212. Video-on-demand (VOD) systems were also available, but these systems
                       9    fell short in that they either required vast amounts of storage at the server to ensure
                      10    that all possible videos desired by users will be available or were limited to only a
                      11    subset of programs that the operator decided to record. ʼ254 Patent at 2:19-26.
                      12          213. The inventors of the ʼ254 Patent disclosed novel systems and methods
                      13    that provided an interactive television program guide system that provides users with
              P.C.




                      14    access to respective directories of recorded programs recorded at a remote server.
MCKOOL SMITH, P C




                      15                                     ʼ254 Patent Allegations
                      16          214. On information and belief after reasonable investigation, Comcast
                      17    markets this infringing functionality as “Cloud DVR.” 41 On information and belief
                      18    after reasonable investigation, Comcast provides the X1 system, which allows
                      19    subscribers to request recordings on remote servers and access their respective user
                      20    directories of recorded programs on remote servers using an IPG implemented on
                      21    user television equipment (the ʼ254 Accused Products). On information and belief
                      22    after reasonable investigation, Comcast performs the methods claimed in the ʼ254
                      23    Patent by allowing subscribers to request recordings on remote servers and access
                      24    their respective user directories of recorded programs on remote servers.
                      25
                      26   41
                                  X1 Cloud DVR FAQs, XFINITY, https://www.xfinity.com/support/articles/x1-dvr-cloud-
                      27   technology-general-faqs (last visited Oct. 12, 2018).

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                                                       COMPLAINT FOR PATENT INFRINGEMENT
                     Case 2:19-cv-00275-AG-FFM Document 56 Filed 03/07/19 Page 63 of 87 Page ID #:1604



                       1          215. Comcast has infringed and is infringing, individually and/or jointly,
                       2    either literally or under the doctrine of equivalents, at least claims 1-8, 10-19, and 21-
                       3    22 of the ʼ254 Patent in violation of 35 U.S.C. §§ 271, et seq., directly and/or
                       4    indirectly, by making, using, offering for lease, leasing, distributing in the United
                       5    States, and/or importing into the United States without authority or license, set-top
                       6    boxes, including without limitation, one or more of the ʼ254 Accused Products that
                       7    infringe the ʼ254 Patent. On information and belief after reasonable investigation,
                       8    each of the ʼ254 Accused Products are designed to be and are used with each other
                       9    and Comcast’s servers to enable subscribers to schedule recordings on remote servers
                      10    and to provide subscribers with access to respective directories of recorded programs
                      11    recorded at a remote server.
                      12          216. Comcast is an active inducer of infringement of at least claims 1-8, 10-
                      13    19, and 21-22 of the ʼ254 Patent under 35 U.S.C. § 271(b). On information and belief
              P.C.




                      14    after reasonable, one or more of the ʼ254 Accused Products of Comcast directly
MCKOOL SMITH, P C




                      15    and/or indirectly infringe (by induced infringement) at least claims 1-8, 10-19, and
                      16    21-22 of the ʼ254 Patent, literally and/or under the doctrine of equivalents.
                      17          217. This Complaint will serve as notice to Comcast of the ʼ254 Patent and its
                      18    infringement should Comcast contend that they did not previously have knowledge
                      19    thereof.
                      20          218. Comcast intentionally encourages and aids at least service providers and
                      21    end-user subscribers to directly infringe the ʼ254 Patent.
                      22          219. Comcast provides the ʼ254 Accused Products and instructions to Xfinity
                      23    subscribers so that such subscribers will use the ʼ254 Accused Products in a directly
                      24    infringing manner. Comcast markets the Xfinity System to subscribers by touting the
                      25    ability to “record TV shows and movies in ‘the cloud.’” 42 Comcast provides
                      26
                      27   42
                                 Record and Play Back Programs with X1 Cloud DVR, XFINITY,
                      28                                             62

                                                      COMPLAINT FOR PATENT INFRINGEMENT
                     Case 2:19-cv-00275-AG-FFM Document 56 Filed 03/07/19 Page 64 of 87 Page ID #:1605



                       1    instructions to its subscribers on how to use the functionality of the ʼ254 Patent on
                       2    Comcast’s websites.43
                       3             220. Comcast subscribers directly infringe by using the ʼ254 Accused
                       4    Products in their intended manner to infringe. Comcast induces such infringement by
                       5    providing the ʼ254 Accused Products and instructions to enable and facilitate
                       6    infringement. 44 On information and belief after reasonable investigation, Comcast
                       7    specifically intends that its actions will result in infringement of the ʼ254 Patent or
                       8    has taken deliberate actions to avoid learning of infringement.
                       9             221. Additional allegations regarding Comcast’s knowledge of the ʼ254 Patent
                      10    may have evidentiary support after a reasonable opportunity for discovery.
                      11             222. Comcast’s infringement of the ʼ254 Patent is exceptional and entitles
                      12    Rovi to attorneys’ fees and costs incurred in prosecuting this action under 35 U.S.C.
                      13    § 285.
              P.C.




                      14             223. Rovi has been damaged by Comcast’s infringement of the ʼ956 Patent
MCKOOL SMITH, P C




                      15    and will continue to be damaged unless Comcast is enjoined by this Court. Rovi has
                      16    suffered and continues to suffer irreparable injury for which there is no adequate
                      17    remedy at law. The balance of hardships favors Rovi, and public interest is not
                      18    disserved by an injunction.
                      19             224. Rovi is entitled to recover from Comcast all damages that Rovi has
                      20    sustained as a result of Comcast’s infringement of the ʼ254 Patent, including without
                      21    limitation, lost profits and not less than a reasonable royalty.
                      22
                      23
                      24   https://www.xfinity.com/support/articles/x1-dvr-with-cloud-technology-recording-and-playback
                           (last visited Oct. 12, 2018).
                      25   43
                                  See, e.g., X1 Cloud DVR FAQs, XFINITY, https://www.xfinity.com/support/articles/x1-dvr-
                      26   cloud-technology-general-faqs (last visited Oct. 12, 2018).
                           44
                                  Id.
                      27
                      28                                                63

                                                       COMPLAINT FOR PATENT INFRINGEMENT
                     Case 2:19-cv-00275-AG-FFM Document 56 Filed 03/07/19 Page 65 of 87 Page ID #:1606



                       1                               SIXTH CLAIM FOR RELIEF
                       2                    INFRINGEMENT OF U.S. PATENT NO. 8,272,019
                       3           225. Plaintiff realleges and incorporates by reference the allegations of
                       4   paragraphs 1- 224 of this Complaint.
                       5           226. The ʼ019 Patent is valid and enforceable under United States Patent
                       6   Laws.
                       7           227. Rovi Guides, Inc. owns, by assignment, all right, title, and interest in and
                       8   to the ʼ019 Patent.
                       9           228. A certified copy of the ʼ019 Patent is attached as Exhibit F.
                      10                                       The ʼ019 Patent
                      11           229. The ʼ019 Patent describes, among other things, a method and system for
                      12   managing programs stored on a remote media server. The patent discloses providing
                      13   user equipment with data associated with a list of programs stored at the media
              P.C.




                      14
                C




                           server, receiving delete requests from program guides displayed at user equipment,
MCKOOL SMITH, P




                      15   and responsively deleting programs from a remote media server.
                      16           230. As the ʼ019 Patent describes, a server may record programs selected for
                      17   recording:
                      18                The remote media server may be located at a program guide
                      19                distribution facility or other suitable distribution facility
                                        (e.g., a cable system headend, a broadcast distribution
                      20                facility, a satellite television distribution facility, or any
                                        other suitable type of television distribution facility). The
                      21                remote media server may record programs and, if desired,
                                        program guide data. The remote media server may also
                      22                record data associated with programs, such as data carried in
                                        a vertical blanking interval (VBI) or in a digital data track.
                      23                The programs, program associated data, program guide data
                                        or any suitable combination thereof, may be recorded in
                      24                response to requests generated by the interactive television
                                        program guide. Programs recorded by the remote media
                      25                server may be distributed to users using any suitable video-
                                        on-demand or near-video-on-demand approach. Users may
                      26                also have local media servers (e.g., personal computers) in
                                        their homes for recording programs and, if desired, program
                      27                guide data.

                      28                                             64

                                                     COMPLAINT FOR PATENT INFRINGEMENT
                     Case 2:19-cv-00275-AG-FFM Document 56 Filed 03/07/19 Page 66 of 87 Page ID #:1607



                       1   ʼ019 Patent at 3:1-21.
                       2         231. The server may also record data associated with the program selected for
                       3   recording:
                       4                Remote media server 24 of FIGS. 2 a, 2 b, 2 c, 2 d, and 2 e
                                        records programs, program guide data, or any suitable
                       5                combination thereof and supplies either or both to user
                                        television equipment 22 in response to requests generated by
                       6                the program guide. Remote media server 24 may also record
                                        program associated data, such as data carried in the vertical
                       7                blanking interval (VBI) of an analog television channel or in
                                        a digital data track on a digital television channel. Examples
                       8                of program associated data are subtitles, text tracks, music
                                        information tracks, additional video formats, additional
                       9                languages, or other additional data. As used herein,
                                        recording and playing back “programming” or “programs”
                      10                may include, but does not require, recording and playing
                                        back program associated data. Remote media server 24 is
                      11                shown as being located at program guide distribution facility
                                        16, but may be located at a separate distribution facility
                      12                (e.g., a cable system headend, a broadcast distribution
                                        facility, a satellite television distribution facility, or any
                      13                other suitable type of television distribution facility).
              P.C.




                      14   ʼ019 Patent at 8:57-9:8.
MCKOOL SMITH, P C




                      15         232. The ʼ019 Patent describes the hardware and software for the server
                      16   recording the programs:
                      17                Remote media server 24 may be based on any suitable
                                        combination of hardware and software suitable for recording
                      18                and playing back programs or program guide data on
                                        demand. As defined herein, the phrase “recording on-
                      19                demand” refers to recording a program or program guide
                                        data in response to a user's selection of a program for
                      20                recording. The actual recording of a program need not take
                                        place at the same time that such a selection is made. For
                      21                example, a program may be selected for recording before its
                                        scheduled broadcast time and may be recorded when the
                      22                selected program is aired.
                      23                Remote media server 24 may include processing circuitry
                                        11, memory 13, and storage 15. Processing circuitry 11 may
                      24                include any suitable processor, such as a microprocessor or
                                        group of microprocessors, and other processing circuitry
                      25                such as caching circuitry, direct memory access (DMA)
                                        circuitry, digitizing circuitry, and input/output (I/O)
                      26                circuitry. Processing circuitry 11 may also include circuitry
                                        suitable for decoding program and data files stored on
                      27                storage 15 and converting them to suitable video signals for
                                        distribution by distribution equipment 21. If programming is
                      28                                             65

                                                      COMPLAINT FOR PATENT INFRINGEMENT
                     Case 2:19-cv-00275-AG-FFM Document 56 Filed 03/07/19 Page 67 of 87 Page ID #:1608



                       1                stored as Moving Pictures Experts Group (MPEG) MPEG-2
                                        files, processing circuitry 11 may include, for example, an
                       2                MPEG-2 decoder for decoding the files and converting them
                                        to National Television Standards Committee (NTSC) video.
                       3                In another suitable approach, processing circuitry passes the
                                        MPEG-2 files to distribution equipment 21 for distribution
                       4                to users as an MPEG-2 data stream. The MPEG-2 data
                                        stream may be decoded and displayed by user television
                       5                equipment 22.
                       6   ʼ019 Patent at 9:9-37.
                       7         233. The interactive program guide allows users to manage the stored
                       8   programs, including deleting programs no longer desired:
                       9                The program guide may also provide users with an
                                        opportunity to manage what is stored on remote media
                      10                server 24 and local media server 29. The program guide
                                        may, for example, provide users with an opportunity to
                      11                delete programs that are no longer desired. The user may
                                        indicate a desire to delete a program by, for example,
                      12                highlighting a listing for a recorded program and pressing a
                                        “DEL” key on remote control 40, by selecting an on-screen
                      13                feature of a program guide display screen such as feature
                                        159 of full information screen 161 (FIG. 20), or using any
              P.C.




                      14                other suitable approach. When the user indicates a desire to
MCKOOL SMITH, P C




                                        delete a recorded program, the program guide may generate
                      15                a delete request that is transmitted to remote media server 24
                                        or local media server 29 by communications device 51.
                      16                Delete requests may be any suitable request, message,
                                        object-based communication, remote procedure call, etc.
                      17
                           ʼ019 Patent at 27:43-58.
                      18
                                 234. The server processes the delete request as appropriate and updates the
                      19
                           directory:
                      20
                                        After receiving a delete request, remote media server 24 (for
                      21                users from within the same or different households) or local
                                        media server 29 (for users from within the same household)
                      22                may determine whether more than one user has requested a
                                        copy of the selected program. If only one user has requested
                      23                that the program be recorded, remote media server 24 may
                                        issue a delete command to the storage device that stores the
                      24                program selected for deletion. The appropriate storage
                                        device deletes the selected program from its media store 63
                      25                (FIG. 4) and media directories 61 and user directory 59 are
                                        updated accordingly. If more than one user has requested
                      26                that the program be recorded, remote media server 24 may
                                        delete the entry in user directory 59 for that program. If the
                      27                program guide maintains a user directory 59, the program
                                        guide may delete the entry. Local media servers may delete
                      28                                             66

                                                      COMPLAINT FOR PATENT INFRINGEMENT
                     Case 2:19-cv-00275-AG-FFM Document 56 Filed 03/07/19 Page 68 of 87 Page ID #:1609



                       1               programs in a similar manner.
                       2   ʼ019 Patent at 27:59-28:7.
                       3                           Historical Context of the ʼ019 Patent
                       4         235. Cable, satellite, and broadcast television providers offer viewers a large
                       5   number of television channels. At the time of the ʼ019 Patent, viewers needed to
                       6   consult printed television program schedules to determine which programs were
                       7   being broadcast at particular times. ʼ019 Patent at 1:23-26. Also at the time of the
                       8   ʼ019 Patent, interactive electronic television program guides allowed users to more
                       9   easily navigate television program information with the use of a remote control. ʼ019
                      10   Patent at 1:26-31. These interactive television program guides typically organized the
                      11   various television program listings in a list, grid, or table. ʼ019 Patent at 1:30-33.
                      12         236. Some systems allowed for programs selected with a STB to be recorded
                      13   and stored on a VCR. While the use of a VCR provided the benefits of basic
              P.C.




                      14   recording, the functionality was very limited. ʼ019 Patent at 1:39-63.
MCKOOL SMITH, P C




                      15         237. Other systems that used hard disk technology to store programs were
                      16   available, but these systems suffered from the need for multiple additional hardware
                      17   to provide functionality throughout a user’s home, significantly increasing the cost of
                      18   the user’s home television equipment. ʼ019 Patent at 1:64-2:8.
                      19         238. Video-on-demand (VOD) systems were also available, but these systems
                      20   fell short in that they either required vast amounts of storage at the server to ensure
                      21   that all possible videos desired by users will be available or were limited to only a
                      22   subset of programs that the operator decided to record. ʼ019 Patent at 2:17-24.
                      23         239. The inventors of the ʼ019 Patent disclosed novel systems and methods for
                      24   managing and responsively deleting programs stored on a remote media server.
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                                                     COMPLAINT FOR PATENT INFRINGEMENT
                     Case 2:19-cv-00275-AG-FFM Document 56 Filed 03/07/19 Page 69 of 87 Page ID #:1610



                       1                                     ʼ019 Patent Allegations
                       2          240. On information and belief after reasonable investigation, Comcast
                       3    markets this infringing functionality as “Cloud DVR.” 45 On information and belief
                       4    after reasonable investigation, Comcast provides the X1 system, which allows
                       5    subscribers to delete programs stored on remote servers using an IPG implemented
                       6    on user television equipment (the ʼ019 Accused Products). On information and belief
                       7    after reasonable investigation, Comcast performs the methods claimed in the ʼ019
                       8    Patent by allowing subscribers to delete programs stored on remote servers.
                       9          241. Comcast has infringed and is infringing, individually and/or jointly,
                      10    either literally or under the doctrine of equivalents, one or more claims of the ʼ019
                      11    Patent in violation of 35 U.S.C. §§ 271, et seq., directly and/or indirectly, by making,
                      12    using, offering for lease, leasing, distributing in the United States, and/or importing
                      13    into the United States without authority or license, including without limitation, one
              P.C.




                      14    or more of the Accused Products (hereafter the ʼ019 Accused Products) that infringe
MCKOOL SMITH, P C




                      15    at least claims 1-3 and 11-13 of the ʼ019 Patent. On information and belief after
                      16    reasonable investigation, each of the ʼ019 Accused Products are designed to be and
                      17    are used with each other and Comcast’s servers to delete programs stored on remote
                      18    servers.
                      19          242. Comcast has been, and currently is, an active inducer of infringement of
                      20    at least claims 1-3 and 11-13 of the ʼ019 Patent under 35 U.S.C. § 271(b). Upon
                      21    information and belief, one or more of the ʼ019 Accused Products of Comcast
                      22    directly and/or indirectly infringe (by induced infringement) at least claims 1-3 and
                      23    11-13 of the ʼ019 Patent, literally and/or under the doctrine of equivalents.
                      24
                      25
                      26   45
                                  X1 Cloud DVR FAQs, XFINITY, https://www.xfinity.com/support/articles/x1-dvr-cloud-
                      27   technology-general-faqs (last visited Oct. 12, 2018).

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                                                       COMPLAINT FOR PATENT INFRINGEMENT
                     Case 2:19-cv-00275-AG-FFM Document 56 Filed 03/07/19 Page 70 of 87 Page ID #:1611



                       1          243. Comcast has had actual knowledge of the ʼ019 Patent since at least
                       2    September, 23, 2014, when Rovi provided a claim chart to Comcast illustrating
                       3    Comcast’s infringement of the ʼ019 Patent.
                       4          244. Rovi again provided Comcast notice of the ʼ019 Patent by identifying the
                       5    ʼ019 Patent in a list of Rovi patents sent to Comcast in April 2015.
                       6          245. This Complaint will serve as notice to Comcast of the ʼ019 Patent and its
                       7    infringement should Comcast contend that it did not previously have knowledge
                       8    thereof.
                       9          246. Comcast intentionally encourages and aids at least service providers and
                      10    end-user subscribers to directly infringe the ʼ019 Patent.
                      11          247. Comcast provides the ʼ019 Accused Products and instructions to Xfinity
                      12    subscribers so that such subscribers will use the ʼ019 Accused Products in a directly
                      13    infringing manner. Comcast provides instructions to its subscribers on how to use the
              P.C.




                      14    functionality of the ʼ019 Patent on its website.46
MCKOOL SMITH, P C




                      15          248. Comcast subscribers directly infringe by using the ʼ019 Accused
                      16    Products in their intended manner to infringe. Comcast induces such infringement by
                      17    providing the ʼ019 Accused Products and instructions to enable and facilitate
                      18    infringement. Upon information and belief, Comcast specifically intends that its
                      19    actions will result in infringement of the ʼ019 Patent or has taken deliberate actions to
                      20    avoid learning of infringement.
                      21          249. Additional allegations regarding Comcast’s knowledge of the ʼ019 Patent
                      22    and willful infringement will likely have evidentiary support after a reasonable
                      23    opportunity for discovery.
                      24
                      25
                      26   46
                                  X1 Cloud DVR FAQs, XFINITY, https://www.xfinity.com/support/articles/x1-dvr-cloud-
                      27   technology-general-faqs (last visited Oct. 12, 2018).

                      28                                               69

                                                       COMPLAINT FOR PATENT INFRINGEMENT
                     Case 2:19-cv-00275-AG-FFM Document 56 Filed 03/07/19 Page 71 of 87 Page ID #:1612



                       1            250. Comcast’s infringement of the ʼ019 Patent is willful and deliberate,
                       2   entitling Rovi to enhanced damages and attorneys’ fees.
                       3            251. Comcast’s infringement of the ʼ019 Patent is exceptional and entitles
                       4   Rovi to attorneys’ fees and costs incurred in prosecuting this action under 35 U.S.C.
                       5   § 285.
                       6            252. Rovi has been damaged by Comcast’s infringement of the ʼ019 Patent
                       7   and will continue to be damaged unless Comcast is enjoined by this Court. Rovi has
                       8   suffered and continues to suffer irreparable injury for which there is no adequate
                       9   remedy at law. The balance of hardships favors Rovi, and public interest is not
                      10   disserved by an injunction.
                      11            253. Rovi is entitled to recover from Comcast all damages that Rovi has
                      12   sustained as a result of Comcast’s infringement of the ʼ019 Patent, including without
                      13   limitation, lost profits and not less than a reasonable royalty.
              P.C.




                      14
MCKOOL SMITH, P C




                                                      SEVENTH CLAIM FOR RELIEF
                      15
                      16                     INFRINGEMENT OF U.S. PATENT NO. 7,735,107

                      17            254. Plaintiff realleges and incorporates by reference the allegations of
                      18   paragraphs 1-253 of this Complaint.
                      19            255. The ʼ107 Patent is valid and enforceable under United States Patent
                      20   Laws.
                      21            256. Rovi Guides, Inc. owns, by assignment, all right, title, and interest in and
                      22   to the ʼ019 Patent.
                      23            257. A certified copy of the ʼ107 Patent is attached as Exhibit G.
                      24                                        The ʼ107 Patent

                      25            258. The ʼ107 Patent describes, among other things, a method and system of
                      26   receiving a broadcast program, tuning to the broadcast program in response to a user
                      27   input, recording the broadcast program on a local storage device, recording the
                      28                                              70

                                                      COMPLAINT FOR PATENT INFRINGEMENT
                     Case 2:19-cv-00275-AG-FFM Document 56 Filed 03/07/19 Page 72 of 87 Page ID #:1613



                       1   broadcast program on a remote server, and in response to a user input, allowing the
                       2   user to watch a portion of the broadcast program stored on the remote server from a
                       3   point prior to when the broadcast program was tuned to.
                       4         259. As the ʼ107 Patent describes, the system uses an interactive program
                       5   guide for tuning:
                       6               The program guide data transmitted by main facility 12 to
                                       interactive program guide television equipment 17 may
                       7               include television programming data (e.g., program
                                       identifiers, times, channels, titles, and descriptions) and
                       8               other data for services other than television program listings
                                       (e.g., help text, pay-per-view information, weather
                       9               information, sports information, music channel information,
                                       associated Internet web links, associated software, etc.). The
                      10               program guide data may also include unique identifiers for
                                       each showing of each program, identifiers for program
                      11               groupings (e.g., series, mini-series, orderable packages of
                                       programs, etc.), or any other suitable identifier. As used
                      12               herein television “program” and “programming” are
                                       intended to mean any type of show or advertisement carried
                      13               on a regular, premium, pay-per-view, music, or other type of
                                       television channel, and may include movies, pay-per-view
              P.C.




                      14               programs, sporting events, music programs, commercials
MCKOOL SMITH, P C




                                       and any other suitable type of television program.
                      15
                           ʼ107 Patent at 5:60-6:10.
                      16
                                 260. The interactive program guide may be deployed in multiple
                      17
                           configurations:
                      18
                                       The interactive television program guide may run totally on
                      19               user television equipment 22 using the arrangements of
                                       FIGS. 2 a and 2 c, or may run partially on user television
                      20               equipment 22 and partially on interactive program guide
                                       television equipment 17 using a suitable client-server or
                      21               distributed processing arrangement such as those shown in
                                       FIGS. 2 b and 2 d. Program guide distribution facility 16
                      22               may be any suitable distribution facility, and may have
                                       distribution equipment 21.
                      23
                           ʼ107 Patent at 6:33-41.
                      24
                                 261. Using the interactive program guide, a user may request a remote and/or
                      25
                           local server record programs and program data:
                      26
                                       The remote media server may be located at a program guide
                      27               distribution facility or other suitable distribution facility
                                       (e.g., a cable system headend, a broadcast distribution
                      28                                          71

                                                     COMPLAINT FOR PATENT INFRINGEMENT
                     Case 2:19-cv-00275-AG-FFM Document 56 Filed 03/07/19 Page 73 of 87 Page ID #:1614



                       1               facility, a satellite television distribution facility, or any
                                       other suitable type of television distribution facility). The
                       2               remote media server may record programs and, if desired,
                                       program guide data. The remote media server may also
                       3               record data associated with programs, such as data carried in
                                       a vertical blanking interval (VBI) or in a digital data track.
                       4               The programs, program associated data, program guide data
                                       or any suitable combination thereof, may be recorded in
                       5               response to requests generated by the interactive television
                                       program guide. Programs recorded by the remote media
                       6               server may be distributed to users using any suitable video-
                                       on-demand or near-video-on-demand approach. Users may
                       7               also have local media servers (e.g., personal computers) in
                                       their homes for recording programs and, if desired, program
                       8               guide data.
                       9   ʼ107 Patent at 2:63-3:12.
                      10         262. The server may also playback recorded programs in response to a user
                      11   request:
                      12               Programs and program guide data may be recorded and
                                       played back on-demand by remote media server 24 in
                      13               response to record and playback requests. Record and
                                       playback requests may be generated by a program guide
              P.C.




                      14               server application or web application implemented on
MCKOOL SMITH, P C




                                       Internet service system 235. Record and playback requests
                      15               may also be generated by an interactive program guide client
                                       implemented on personal computer 231 and may be
                      16               provided to remote media server 24 by Internet service
                                       system 235. Programs and program guide data may be
                      17               provided by Internet service system 235 to personal
                                       computer 231 using a suitable real-time Internet video
                      18               approach (e.g., using the M-Bone), or may be downloaded
                                       and stored by personal computer 231 for playback.
                      19
                           ʼ107 Patent at 8:37-50.
                      20
                                                     Historical Context of the ʼ107 Patent
                      21
                                 263. Cable, satellite, and broadcast television providers offer viewers a large
                      22
                           number of television channels. At the time of the ʼ107 Patent, viewers needed to
                      23
                           consult printed television program schedules to determine which programs were
                      24
                           being broadcast at particular times. ʼ107 Patent at 1:17-21. Also at the time of the
                      25
                           ʼ107 Patent, interactive electronic television program guides allowed users to more
                      26
                           easily navigate television program information with the use of a remote control. ʼ107
                      27
                      28                                            72

                                                      COMPLAINT FOR PATENT INFRINGEMENT
                     Case 2:19-cv-00275-AG-FFM Document 56 Filed 03/07/19 Page 74 of 87 Page ID #:1615



                       1    Patent at 1:21-25. These interactive television program guides typically organized the
                       2    various television program listings in a list, grid, or table. ʼ107 Patent at 1:25-28.
                       3           264. Some systems allowed for programs selected with a STB to be recorded
                       4    and stored on a VCR. While the use of a VCR provided the benefits of basic
                       5    recording, the functionality was very limited. ʼ107 Patent at 1:40-58.
                       6           265. Other systems that used hard disk technology to store programs were
                       7    available, but these systems suffered from the need for multiple additional hardware
                       8    to provide functionality throughout a user’s home, significantly increasing the cost of
                       9    the user’s home television equipment. ʼ107 Patent at 1:59-2:3.
                      10           266. Video-on-demand (VOD) systems were also available, but these systems
                      11    fell short in that they either required vast amounts of storage at the server to ensure
                      12    that all possible videos desired by users will be available or were limited to only a
                      13    subset of programs that the operator decided to record. ʼ107 Patent at 2:12-19.
              P.C.




                      14           267. The inventors of the ʼ107 Patent disclosed novel systems and methods for
MCKOOL SMITH, P C




                      15    recording broadcast programs locally and on remote servers, and allowing
                      16    subscribers to watch portions of a broadcast program stored on a remote server from
                      17    a point prior to when the program was tuned to by the subscriber.
                      18                                       ʼ107 Patent Allegations
                      19           268. On information and belief after reasonable investigation, Comcast
                      20    markets this infringing functionality as “Restart.”47 On information and belief after
                      21    reasonable investigation, Comcast provides the X1 system, which allows subscribers
                      22    to watch programs stored at a remote server from a point prior to when the program
                      23    was tuned to using an IPG implemented on user television equipment (the ʼ107
                      24    Accused Products). On information and belief after reasonable investigation,
                      25
                           47
                      26           See, e.g., Xfinity Community Forum, XFINITY, https://forums.xfinity.com/t5/TV-
                           Archive/quot-Start-from-beginning-quot-feature/td-p/2970254 (last visited Oct. 2, 2018) (containing
                      27   instructions from a Comcast employee for subscribers to make use of the “Restart” feature).

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                                                        COMPLAINT FOR PATENT INFRINGEMENT
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                       1   Comcast performs the methods claimed in the ʼ107 Patent by allowing subscribers to
                       2   watch programs stored at a remote server from a point prior to when the program was
                       3   tuned to.
                       4         269. Comcast has infringed and is infringing, individually and/or jointly,
                       5   either literally or under the doctrine of equivalents, one or more claims of the ʼ107
                       6   Patent in violation of 35 U.S.C. §§ 271, et seq., directly and/or indirectly, by making,
                       7   using, offering for lease, leasing, distributing in the United States, and/or importing
                       8   into the United States without authority or license, including without limitation, one
                       9   or more of the Accused Products (hereafter the ʼ107 Accused Products) that infringe
                      10   at least claims 1-4 and 9-12 of the ʼ107 Patent. On information and belief after
                      11   reasonable investigation, each of the ʼ107 Accused Products are designed to be and
                      12   are used with each other and Comcast’s servers to delete programs stored on remote
                      13   servers.
              P.C.




                      14         270. Comcast has been, and currently is, an active inducer of infringement of
MCKOOL SMITH, P C




                      15   at least claims 1-4 and 9-12 of the ʼ107 Patent under 35 U.S.C. § 271(b). Upon
                      16   information and belief, one or more of the ʼ107 Accused Products of Comcast
                      17   directly and/or indirectly infringe (by induced infringement) at least claims 1-4 and 9-
                      18   12 of the ʼ107 Patent, literally and/or under the doctrine of equivalents.
                      19         271. Comcast has had actual knowledge of the ʼ107 Patent since at least
                      20   September 23, 2014, when Rovi provided a claim chart to Comcast illustrating
                      21   Comcast’s infringement of the ʼ107 Patent.
                      22         272. Rovi again provided Comcast notice of the ʼ107 Patent by identifying the
                      23   ʼ107 Patent in a list of Rovi patents sent to Comcast in April 2015.
                      24         273. This Complaint will serve as notice to Comcast of the ʼ107 Patent and its
                      25   infringement should Comcast contend that it did not previously have knowledge
                      26   thereof.
                      27
                      28                                            74

                                                    COMPLAINT FOR PATENT INFRINGEMENT
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                       1             274. Comcast intentionally encourages and aids at least service providers and
                       2    end-user subscribers to directly infringe the ʼ107 Patent.
                       3             275. Comcast provides the ʼ107 Accused Products and instructions to Xfinity
                       4    subscribers so that such subscribers will use the ʼ107 Accused Products in a directly
                       5    infringing manner. Comcast provides instructions to its subscribers on how to use the
                       6    functionality of the ʼ107 Patent on its website.48
                       7             276. Comcast subscribers directly infringe by using the ʼ107 Accused
                       8    Products in their intended manner to infringe. Comcast induces such infringement by
                       9    providing the ʼ107 Accused Products and instructions to enable and facilitate
                      10    infringement. Comcast provides instructions to its subscribers to use the “Restart”
                      11    feature to watch a program from a point prior to when the program was tuned to
                      12    using a remote server. 49 Upon information and belief after reasonable investigation,
                      13    Comcast specifically intends that its actions will result in infringement of the ʼ107
              P.C.




                      14    Patent or has taken deliberate actions to avoid learning of infringement.
MCKOOL SMITH, P C




                      15             277. Additional allegations regarding Comcast’s knowledge of the ʼ107 Patent
                      16    and willful infringement will likely have evidentiary support after a reasonable
                      17    opportunity for discovery.
                      18             278. Comcast’s infringement of the ʼ107 Patent is willful and deliberate,
                      19    entitling Rovi to enhanced damages and attorneys’ fees.
                      20             279. Comcast’s infringement of the ʼ107 Patent is exceptional and entitles
                      21    Rovi to attorneys’ fees and costs incurred in prosecuting this action under 35 U.S.C.
                      22    § 285.
                      23
                      24   48
                                   See, e.g., Xfinity Community Forum, XFINITY, https://forums.xfinity.com/t5/TV-
                           Archive/quot-Start-from-beginning-quot-feature/td-p/2970254 (last visited Oct. 2, 2018) (containing
                      25   instructions from a Comcast employee for subscribers to make use of the “Restart” feature).
                           49
                      26           See, e.g., Xfinity Community Forum, XFINITY, https://forums.xfinity.com/t5/X1/Restart-
                           Show-Command/td-p/2986131 (last visited Oct. 13, 2018) (describing a subscriber’s email from
                      27   Comcast regarding the “Restart This Program” feature).

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                                                        COMPLAINT FOR PATENT INFRINGEMENT
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                       1           280. Rovi has been damaged by Comcast’s infringement of the ʼ107 Patent
                       2   and will continue to be damaged unless Comcast is enjoined by this Court. Rovi has
                       3   suffered and continues to suffer irreparable injury for which there is no adequate
                       4   remedy at law. The balance of hardships favors Rovi, and public interest is not
                       5   disserved by an injunction.
                       6           281. Rovi is entitled to recover from Comcast all damages that Rovi has
                       7   sustained as a result of Comcast’s infringement of the ʼ107 Patent, including without
                       8   limitation, lost profits and not less than a reasonable royalty.
                       9
                                                      EIGHTH CLAIM FOR RELIEF
                      10
                                            INFRINGEMENT OF U.S. PATENT NO. 9,118,948
                      11
                      12           282. Plaintiff realleges and incorporates by reference the allegations of

                      13   paragraphs 1-281 of this Complaint.
                                   283. The ’948 Patent is valid and enforceable under United States Patent
              P.C.




                      14
MCKOOL SMITH, P C




                      15   Laws.

                      16           284. Rovi Guides, Inc. owns, by assignment, all right, title, and interest in and

                      17   to the ’948 Patent, including the right to collect for past damages.

                      18           285. A certified copy of the ’948 Patent is attached as Exhibit H.

                      19                                       The ’948 Patent

                      20           286. The ’948 Patent describes, among other things, a method and system of

                      21   recording multiple programs at a server in response to record requests from multiple

                      22   user equipment. The patent discloses that a server receives a first record request for a

                      23   first program and a second record request for a second program. The server, in

                      24   response to receiving each record request, simultaneously records the second

                      25   program and at least a portion of the first program.

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                                                     COMPLAINT FOR PATENT INFRINGEMENT
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                       1         287. As the ʼ948 Patent describes, users may initiate record requests using an
                       2   interactive program guide on user television equipment for programs that are
                       3   received by a media server:
                       4               When a user indicates a desire to record a program or
                                       program grouping on remote media server 24 or local media
                       5               server 29 (and possibly a desire to confirm recording of the
                                       program), the program guide generates a record request that
                       6               is transmitted to the appropriate remote media server by
                                       communications device 51 (FIG. 9) via communications
                       7               path 20 or 31. The record request may include, for example,
                                       an identifier for the program that the user wishes to record,
                       8               an identifier for the user, and, if desired, any other
                                       information related to the program and the user.
                       9
                           ʼ948 Patent at 22:10-19.
                      10
                                 288. Record requests may be generated by an interactive program guide,
                      11
                           including a program guide computer application:
                      12
                                       Programs and program guide data may be recorded and
                      13               played back on-demand by remote media server 24 in
                                       response to record and playback requests. Record and
              P.C.




                      14               playback requests may be generated by a program guide
MCKOOL SMITH, P C




                                       server application or web application implemented on
                      15               Internet service system 235. Record and playback requests
                                       may also be generated by an interactive program guide client
                      16               implemented on personal computer 231 and may be
                                       provided to remote media server 24 by Internet service
                      17               system 235.
                      18   ʼ948 Patent at 8:47-55.
                      19         289. In response to these requests, a remote media server may record the
                      20   requested programs:
                      21               Remote media server 24 of FIGS. 2 a, 2 b, 2 c, 2 d, and 2 e
                                       records programs, program guide data, or any suitable
                      22               combination thereof and supplies either or both to user
                                       television equipment 22 in response to requests generated by
                      23               the program guide.
                      24   ʼ948 Patent at 8:61-65.
                      25         290. The ʼ948 Patent provides that a record request may be received in
                      26   advance of the airing of a program such that the program is recorded by the media
                      27   server when the program is aired:
                      28                                           77

                                                      COMPLAINT FOR PATENT INFRINGEMENT
                     Case 2:19-cv-00275-AG-FFM Document 56 Filed 03/07/19 Page 79 of 87 Page ID #:1620



                       1               Remote media server 24 may be based on any suitable
                                       combination of hardware and software suitable for recording
                       2               and playing back programs or program guide data on
                                       demand. As defined herein, the phrase “recording on-
                       3               demand” refers to recording a program or program guide
                                       data in response to a user’s selection of a program for
                       4               recording. The actual recording of a program need not take
                                       place at the same time that such a selection is made. For
                       5               example, a program may be selected for recording before its
                                       scheduled broadcast time and may be recorded when the
                       6               selected program is aired.
                       7   ʼ948 Patent at 9:14-23.
                       8         291. In response to receiving record requests, a media server may record
                       9   programs and provide user directories of recorded programs:
                      10               At the time a selected program or program in a grouping airs
                                       (which may be the time at which the program is selected for
                      11               recording), remote media server 24 or local media server 29
                                       may record the program and any associated program guide
                      12               data. Program guide data may be stored as files associated
                                       with the program using pointers. Once the selected program
                      13               is recorded, remote media server 24 or local media server 29
                                       may provide a copy of user directory 59 to the program
              P.C.




                      14               guide if the program guide maintains a copy of user
MCKOOL SMITH, P C




                                       directories. Alternatively, remote media server 24 or local
                      15               media server 29 may provide a pointer to the location of the
                                       program on media store 63.
                      16
                           ʼ948 Patent at 22:23-34.
                      17
                                 292. The ʼ948 Patent illustrates that multiple record requests can be handled
                      18
                           by the media server such that multiple programs can simultaneously be recorded for
                      19
                           multiple users:
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                                                      COMPLAINT FOR PATENT INFRINGEMENT
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                           ʼ948 Patent at Fig. 5.
                      13
                                 293. The media server can direct multiple tuners (such as any combination of
              P.C.




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MCKOOL SMITH, P C




                           analog tuners, digital tuners, and decoders) to record at particular times in order to
                      15
                           record multiple programs for multiple users:
                      16
                                       Recorder 125 may be a process running on processing
                      17               circuitry 11 of remote media server 24 that is suitable for
                                       monitoring job queue 120 and recording programs on
                      18               storage 15. Processing circuitry 11 of remote media server
                                       24 may include, for example, one or more tuners, digital
                      19               encoders, or digital decoders for tuning to or otherwise
                                       selecting programming provided by distribution equipment
                      20               21 and formatting the programs for recording by remote
                                       media server 24. Any suitable combination of analog and
                      21               digital tuners and decoders are hereinafter referred to as
                                       tuners to simplify the discussion. Recorder 125 may direct
                      22               the one or more tuners to particular channels (analog or
                                       digital) at particular times based on entries in job queue 120.
                      23               In this example, recorder 125 may direct a first tuner to tune
                                       to channel 4 on Dec. 21, 1999 to record PROGRAM 1 for
                      24               user 1. Recorder 125 may also direct a second tuner to tune
                                       to channel 5 at the same time to record PROGRAM 2 for
                      25               user 1 and user 2. The upper limit on the number of tuners
                                       needed for remote media server 24 may be the number of
                      26               channels distributed by distribution equipment 21. Such
                                       tuners may be based on tuning and decoding circuitry
                      27               implemented using one or more integrated circuits.
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                                                    COMPLAINT FOR PATENT INFRINGEMENT
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                       1   ʼ948 Patent at 11:26-47.
                       2                           Historical Context of the ʼ948 Patent
                       3         294. Over the years, cable, satellite, and broadcast television providers have
                       4   offered an increasingly large number of television channels and television program
                       5   listings, and interactive program guide technology has developed to allow television
                       6   viewers to more quickly navigate to and select television programs, both currently
                       7   airing and in the future. ʼ948 Patent at 1:24-35.
                       8         295. Some systems allowed for programs selected with a STB to be recorded
                       9   and stored with a connected videocassette recorder. While the use of a VCR provided
                      10   the benefits of basic recording, the functionality was very limited in a number of
                      11   ways. ʼ948 Patent at 1:41-65.
                      12         296. Systems that used hard disk technology to store programs were available,
                      13   but these systems suffered from the need for additional hardware to provide
              P.C.




                      14   functionality throughout a user’s home, significantly increasing the cost of the user’s
MCKOOL SMITH, P C




                      15   home television equipment. ʼ948 Patent at 1:66-2:10.
                      16         297. Video-on-demand (VOD) systems were also available, but these systems
                      17   fell short in that they either required vast amounts of storage at the server to ensure
                      18   that all possible videos desired by users will be available, or these systems fell short
                      19   in that users were limited to only a subset of programs that the operator decided to
                      20   record. ʼ948 Patent at 2:19-26.
                      21         298. The inventors of the ʼ948 Patent disclosed novel systems and methods to
                      22   enable a media server to record multiple programs simultaneously in response to
                      23   different record requests from different user equipment associated with respective
                      24   users. These novel systems and methods allow multiple subscribers to choose
                      25   particular content to be recorded on a media server, which expands and tailors the
                      26   content available to the subscribers on demand while also consolidating program
                      27   storage.
                      28                                            80

                                                      COMPLAINT FOR PATENT INFRINGEMENT
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                       1                                     ʼ948 Patent Allegations
                       2          299. On information and belief after reasonable investigation, Comcast
                       3    markets the infringing functionality as “X1 Cloud DVR”.50 On information and belief
                       4    and after reasonable investigation, Comcast provides the X1 system (the ʼ948
                       5    Accused Products), which includes user equipment that allows users to schedule X1
                       6    Cloud DVR recordings and X1 Cloud DVR servers that record multiple programs
                       7    simultaneously for multiple users in response to receiving record requests. Further,
                       8    on information and belief and after reasonable investigation, Comcast performs the
                       9    methods claimed in the ʼ948 Patent by receiving record requests from different X1
                      10    user equipment associated with different users and simultaneously recording
                      11    programs at a server.
                      12          300. Comcast has infringed and is infringing, individually and/or jointly,
                      13    either literally or under the doctrine of equivalents, at least claims 1-3, 5-13, 15-21,
              P.C.




                      14    23, and 25-26 of the ʼ948 Patent in violation of 35 U.S.C. §§ 271, et seq., directly
MCKOOL SMITH, P C




                      15    and/or indirectly, by making, using, offering for sale, selling, offering for lease,
                      16    leasing in the United States, and/or importing into the United States without authority
                      17    or license, set-top boxes, including without limitation, one or more of the ʼ948
                      18    Accused Products and associated software (including at least the Xfinity branded
                      19    IPG) that are used to infringe the ʼ948 Patent. Upon information and belief after
                      20    reasonable investigation, each of the ʼ948 Accused Products are designed to be and
                      21    are used with each other and Comcast’s servers to receive multiple record requests
                      22    from user equipment and simultaneously recording multiple programs with a server.
                      23          301. Comcast is an active inducer of infringement of one or more claims of
                      24    the ʼ948 Patent under 35 U.S.C. § 271(b). Upon information and belief, one or more
                      25
                      26   50
                                  X1 Cloud DVR FAQs, XFINITY, https://www.xfinity.com/support/articles/x1-dvr-cloud-
                           technology-general-faqs (last visited Dec. 7, 2018).
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                                                       COMPLAINT FOR PATENT INFRINGEMENT
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                       1    of the ʼ948 Accused Products of Comcast directly and/or indirectly infringe (by
                       2    induced infringement) at least claims 1-3, 5-13, 15-21, 23, and 25-26 of the ʼ948
                       3    Patent, literally and/or under the doctrine of equivalents.
                       4           302. This Complaint will serve as notice to Comcast of the ʼ948 Patent and its
                       5    infringement should Comcast contend that it did not previously have knowledge
                       6    thereof.
                       7           303. Comcast intentionally encourages and aids at least service providers and
                       8    end-user subscribers to directly infringe the ʼ948 Patent.
                       9           304. Comcast provides the ʼ948 Accused Products and instructions to Xfinity
                      10    subscribers so that such subscribers will use the ʼ948 Accused Products in a directly
                      11    infringing manner. Comcast markets the X1 System to subscribers by touting the X1
                      12    Cloud DVR with “60 hours of Cloud DVR storage available for each X1 DVR TV
                      13    Box on your account.” 51 Comcast provides instructions to its subscribers on how to
              P.C.




                      14    use the functionality of the ʼ948 Patent on these websites as well. Comcast further
MCKOOL SMITH, P C




                      15    instructs its subscribers how to watch Cloud DVR recordings. 52
                      16           305. Comcast subscribers directly infringe by using the ʼ948 Accused
                      17    Products in their intended manner. Comcast induces such infringement by providing
                      18    the ʼ948 Accused Products and instructions to enable and facilitate infringement.
                      19    Upon information and belief, Comcast specifically intends that its actions will result
                      20    in infringement of the ʼ948 Patent or has taken deliberate actions to avoid learning of
                      21    infringement.
                      22
                      23
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                                   X1 Cloud DVR FAQs, XFINITY, https://www.xfinity.com/support/articles/x1-dvr-cloud-
                      25   technology-general-faqs (last visited Dec. 7, 2018); see also X1 Cloud DVR Overview, XFINITY,
                           https://www.xfinity.com/support/articles/x1-dvr-with-cloud-technology-available-features (last
                      26   visited Dec. 7, 2018).
                           52
                      27           Id.

                      28                                                 82

                                                        COMPLAINT FOR PATENT INFRINGEMENT
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                       1            306. Additional allegations regarding Comcast’s knowledge of the ʼ948 Patent
                       2   may have evidentiary support after a reasonable opportunity for discovery.
                       3            307. Comcast’s infringement of the ʼ948 Patent is exceptional and entitles
                       4   Rovi to attorneys’ fees and costs incurred in prosecuting this action under 35 U.S.C.
                       5   § 285.
                       6            308. Rovi has been damaged by Comcast’s infringement of the ʼ948 Patent
                       7   and will continue to be damaged unless Comcast is enjoined by this Court. Rovi has
                       8   suffered and continues to suffer irreparable injury for which there is no adequate
                       9   remedy at law. The balance of hardships favors Rovi, and public interest is not
                      10   disserved by an injunction.
                      11            309. Rovi is entitled to recover from Comcast all damages that Rovi has
                      12   sustained as a result of Comcast’s infringement of the ʼ948 Patent, including without
                      13   limitation, lost profits and not less than a reasonable royalty.
              P.C.




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MCKOOL SMITH, P C




                                                           PRAYER FOR RELIEF
                      15
                      16            WHEREFORE, Rovi prays for a judgment in its favor and against Comcast

                      17   and respectfully requests the following relief:

                      18            1.   A judgment declaring that Comcast has infringed one or more claims of

                      19   each of the Asserted Patents in this litigation pursuant to 35 U.S.C. §§ 271(a) and/or

                      20   271(b);

                      21            2.   A preliminary injunction pursuant to 35 U.S.C. § 283 in accordance with

                      22   the principles of equity preventing Comcast, its officers, directors, attorneys, agents,

                      23   servants, employees, parties in privity with, and all persons in active concert or

                      24   participation with any of the foregoing, from continued leasing or offering for lease

                      25   the X1 IPG Product to any cable operator or any Pay-TV provider that is not licensed

                      26   by Rovi to make use, license, or sell any product offered by Comcast that practices,

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                                                      COMPLAINT FOR PATENT INFRINGEMENT
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                       1   provides, or contains any method, apparatus, or system covered by one or more of the
                       2   Asserted Patents;
                       3         3.    A preliminary injunction pursuant to 35 U.S.C. § 283 in accordance with
                       4   the principles of equity preventing Comcast, its officers, directors, attorneys, agents,
                       5   servants, employees, parties in privity with, and all persons in active concert or
                       6   participation with any of the foregoing, from leasing, offering or providing to any of
                       7   its cable customers and consumer end subscribers any IPG product solution that
                       8   practices, provides, or contains any method, apparatus, or system covered by one or
                       9   more of the Asserted Patents commencing on a date ninety (90) days following the
                      10   entry of the preliminary injunction;
                      11         4.    An injunction pursuant to 35 U.S.C. § 283 permanently enjoining
                      12   Comcast, its officers, directors, attorneys, agents, servants, employees, parties in
                      13   privity with, and all persons in active concert or participation with, any of the
              P.C.




                      14   foregoing, from continued acts of infringement, contributing to infringement, or
MCKOOL SMITH, P C




                      15   inducing infringement of the Asserted Patents in this litigation;
                      16         5.    A judgment requiring Comcast to make an accounting of damages
                      17   resulting from Comcast’s infringement of the Asserted Patents in this litigation;
                      18         6.    A judgment awarding Rovi its damages resulting from Comcast’s
                      19   infringement of the Asserted Patents in this litigation, and increasing such damages
                      20   pursuant to 35 U.S.C. § 284 because of the willful and deliberate nature of Comcast’s
                      21   conduct;
                      22         7.    A judgment requiring Comcast to pay Rovi costs, expenses, and pre-
                      23   judgment and post-judgment interest for Comcast’s infringement of each of the
                      24   Asserted Patents in this litigation;
                      25         8.    A judgment finding that this is an exceptional case and awarding Rovi’s
                      26   attorneys’ fees pursuant to 35 U.S.C. § 285; and
                      27         9.    Such other relief as the Court deems just and proper.
                      28                                            84

                                                     COMPLAINT FOR PATENT INFRINGEMENT
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                       1   DATED: March 6, 2019                  Respectfully submitted,
                       2
                                                                 MCKOOL SMITH, P.C.
                       3                                         /s/ Roderick G. Dorman
                                                                 Roderick G. Dorman (SBN 96908)
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                      14
MCKOOL SMITH, P




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                                                                 (512) 692-8700 / (512) 692-8744 (fax)
                      19                                         Attorneys for Plaintiff
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                                                  COMPLAINT FOR PATENT INFRINGEMENT
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                       1                              DEMAND FOR JURY TRIAL
                       2         In accordance with Rule 38 of the Federal Rules of Civil Procedure and Local
                       3   Rule CV-38-1, Plaintiff respectfully demands a jury trial of all issues triable to a jury.
                       4
                       5   DATED: March 6, 2019                       Respectfully submitted,
                       6                                              MCKOOL SMITH, P.C.
                       7                                              BY /s/ Roderick G. Dorman
                       8                                              RODERICK G. DORMAN
                       9                                              ATTORNEYS FOR PLAINTIFF
                      10                                              ROVI GUIDES, INC.

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MCKOOL SMITH, P




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                                                     COMPLAINT FOR PATENT INFRINGEMENT
